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 8   San Francisco, California 94111
     Telephone: (415) 490-9000
 9   Facsimile: (415) 490-9001
10   Attorneys for Defendant
     EXEL INC. dba DHL SUPPLY CHAIN (erroneously sued as “DHL Supply
11   Chain”)
12                          UNITED STATES DISTRICT COURT
13                        NORTHERN DISTRICT OF CALIFORNIA
14

15   STEPHEN BRATSET,                        Case No: _____________________
16                        Plaintiff,
                                             DECLARATION OF CHRISTOPHER J.
17           v.                              BOMAN IN SUPPORT OF NOTICE OF
                                             REMOVAL
18   DHL SUPPLY CHAIN, a business
     entity from unknown and DOES 1-50,      (Pursuant to 28 U.S.C. §§ 1332, 1441 and
19                                           1446)
20                        Defendant.
21                                           Complaint Filed: 08/24/21
22

23
             I, CHRISTOPHER J. BOMAN, hereby declare and state as follows:

24
             1.      I am an attorney at law, licensed to practice in the State of

25
     California and before this Court. I am a partner with Fisher & Phillips LLP,

26
     counsel of record for Defendant EXEL INC. dba DHL SUPPLY CHAIN (USA)

27
     (erroneously sued as DHL Supply Chain) (“Defendant”) in this case and make

28
     this Declaration in support of Defendant’s Notice of Removal under 28 U.S.C.

                                             1
      DECL OF CHRISTOPHER J. BOMAN IN SUPPORT OF DEFS’ NOTICE OF REMOVAL
     FP 42711069.1
       Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 2 of 69



 1   §§ 1332, 1441 and 1446. All of the information set forth herein is based on
 2   my personal and first-hand knowledge except where indicated, and if called
 3   and sworn as a witness, I could and would testify competently thereto.
 4           2.      On or about August 24, 2021, Plaintiff filed a state court action
 5   against erroneously named defendant “DHL Supply Chain” in Alameda
 6   County Superior Court.
 7           3.      On or about November 16, 2021, Plaintiff attempted to serve
 8   erroneously named defendant “DHL Supply Chain” at the site location, which
 9   was improper service.
10           4.      On November 22, 2021, I contacted Plaintiff’s counsel, Michael
11   Reed, and notified him that Fisher Phillips was counsel for Exel Inc. dba DHL
12   SUPPLY CHAIN (USA) (“EXEL”) and would be defending it. Specifically,
13   I explained that EXEL disputed service but would accept service via Notice
14   of Acknowledgement and Receipt.
15           5.      That same day, Plaintiff’s counsel agreed to serve EXEL via
16   Notice of Acknowledgement and Receipt.
17           6.      On December 1, 2021, Plaintiff provided the requisite service
18   paperwork to EXEL’s counsel in California, Christopher J Boman, via Notice of
19   Acknowledgement and Receipt. A true and correct copy of the complaint and all
20   other papers received by Mr. Boman is attached as Exhibit “1.” Specifically,
21   counsel provided a copy of the Summons and Complaint and related papers
22   such as notice of judicial assignment and notice of case management
23   conference.
24           7.      On December 21, 2021, I signed and returned the Notice of
25   Acknowledgement and Receipt, which effectuated service that same day.
26           8.      Previously, on November 22, 2021, EXEL filed a pre-emptory
27   challenge to the originally assigned judge, the Honorable Julia Spain. A true and
28   correct copy of the 170.6 challenge is attached hereto as Exhibit “2.”
                                              2
      DECL OF CHRISTOPHER J. BOMAN IN SUPPORT OF DEFS’ NOTICE OF REMOVAL
     FP 42711069.1
       Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 3 of 69



 1           9.      On November 30, 2021, EXEL’s 170.6 challenge was granted and the
 2   case was re-assigned to the Honorable Dennis Hayashi. A true and correct copy of
 3   order granting EXEL’s 170.6 challenge to Judge Spain and re-assigning the state
 4   court action to Judge Hayashi is attached hereto as Exhibit “3.” At the same time,
 5   the originally scheduled case management conference on January12, 2022 was re-
 6   scheduled for January 24, 2022.
 7           10.     On December 22, 2021, Plaintiff’s attorney served a demand letter
 8   wherein he itemized the economic and non-economic damages allegedly owed to
 9   his client under the theories alleged by Plaintiff in his complaint. A true and correct
10   copy of Plaintiff’s December 22, 2021, demand letter is attached hereto as Exhibit
11   “4.” Therein, Plaintiff’s counsel requests $175,000.00 for the economic and non-
12   economic damages that are alleged in the action.
13           11.     Finally, attached hereto as Exhibit “5” are true and correct copies of
14   miscellaneous filings and orders in the state court action, including a December 1,
15   2021 proof of service filed by Plaintiff and a December 23, 2021 Case Management
16   Statement filed by Plaintiff in the state court action.
17           I declare under penalty of perjury under the laws of the United States of
18   America and the State of California that the foregoing is true and correct.
19           Executed this 13th day of January 2022, at Irvine, California.
20

21                                            /S/ CHRISTOPHER J. BOMAN
22
                                              CHRISTOPHER J. BOMAN
23

24

25

26

27

28
                                                3
      DECL OF CHRISTOPHER J. BOMAN IN SUPPORT OF DEFS’ NOTICE OF REMOVAL
     FP 42711069.1
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                   EXHIBIT 1
                          Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 5 of 69


                                                                                                                                                       POS-015
 ATTORNEY OR PARTY WITHOUT ATTORNEY:                        STATE BAR NO     122324                                            FOR COURT USE ONLY

 NAME   Michael J. Reed
 FIRM NAME  Law Offices of Michael J. Reed
 STREET ADDRESS : 60 CreekTree Lane
 c ITY Alamo                                                      STATE:   Ca      ZI P CODE: 94507

 TELEPHON E NO .. (925) 984-7477                                 FAX NO. :  (734) 468-6168
 E-MAIL ADDR ESS : mreed 10202@aol.com

 ATTORNEY FOR (Name): Plaintiff STEPHEN BRATSET

 SUPERIOR COU RT OF CALIFORNIA, COU NTY OF Alameda
     STREET ADD RESS:    1225 Fallon Street
  MAILIN G ADDRE SS:     1225 Fallon Street
 CI TY AND ZIP CODE:      Oakland , Ca . 94612
       BRAN CH NAM E:    Renee C. Davidson

          Plaintiff/Petitioner: STEPHEN BRATSET
  Defendant/Respondent:            OHL SUPPLY CHAIN
                                                                                                                CASE NUMBER:
                  NOTICE AND ACKNOWLEDGMENT OF RECEI PT-CIVIL                                                   RG21110598


TO (insert name of party being served): OHL SUPP LY CHAIN, a business entity form unknown


                                                                                NOTICE
       The summons and other documents identified below are being served pursuant to section 415 .30 of the California Code of Civil
       Procedure . Your failu re to complete this form and return it within 20 days from the date of ma ili ng shown below may subject you
       (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
       on you in any other manner permitted by law.
       If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
       fo rm must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
       entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
       summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
       acknowledgment of receipt below.


Date of mailing: _1_2/_0_1_/2_0_2_1_ _ _ _ _ _ _ _ _ _ _ _ _ __


                                    Michael J. Reed
                                   (TYPE OR PRINT NAM E)                                   ►
                                                           ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1.    IT]     A copy of the summons and of the complaint.
2.    CR]     Other (specify):


              Notice of Case Management Conference and Order
              Notice of Assignment of Judge For All Purposes


(To be completed by recipient):

Date this form is signed:
                                   - ---------------

                 (TYPE OR PRINT YOUR NAM E AND NAME OF ENTITY, IF ANY,
                        ON WJ-IOSE BEHAL F THI S FORM IS SIGN ED)
                                                                                           ►      (SIGNATU~E OF PERSON ACKNOWLEDGING RE CEI PT, WITH TITLE IF
                                                                                               ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTI TY)




                                                                                                                                                         Page 1 of 1

Form Adopted for Mandatory Use
Judicial Council of Californ ia            NOTICE AND ACKNOWLEDGMENT OF RECEIPT -                                  CIVIL                     Code of Civil Procedure,
                                                                                                                                                  §§41 5.30,4 17.10
POS-01 5 [R ev. January 1, 2005]
                                                                                                                                                www.courtinfo.ca.gov
                           Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 6 of 69

                                                                                                                                                         SUM-100
                                                  SUMMONS                                                                  FOR COURT USE ONLY
                                                                                                                       (SOLO PARA USO DE LA CORTE)
                                        (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AV/SO AL DEMANDADO):                                                                                                  ENDORSE D
                                                                                                                         F!l ED
 DHL SUPPLY CHAIN, a business entity form unknown and DOES                                                           ALAMED/\ COUNTY
 1-50,
YOU ARE BEING SUED BY PLAINTIFF:                                                                                               AUG 2 4 2021
(LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                             CLERK OF THE SUPERIOR COURT
 STEPHEN BRATSET
                                                                                                             By                ~ft,,.lA   Fl:J              Deputy


  NOTICE! You have been sued . The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you . Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo .ca.gov/selfhelp}, your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form . If you do not file your response on time , you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp) , or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 jAVISO! Lo han demandado. Si no responde dentro de 30 dias, la carte puede decidir en su contra sin escuchar su version. Lea !a informaci6n a
 continuaci6n.
     Tiene 30 DIAS DE CALENDAR/O despues de que le entreguen esta citaci6n y papeles /ega/es para presentar una respuesta par escrito en esta
 carte y hacer que se entregue una copia al demandante. Una carta o una Jlamada telef6nica no Jo protegen. Su respuesta par escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la carte. Es posible que haya un formu/ario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la carte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
 biblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de fa carte
 que le de un formulario de exenci6n de pago de cuotas. Si no pre sen ta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le
 podra quitar su sue/do, dinero y bienes sin mas advertencia.
    Hay otros requisitos Jegales. Es recomendab/e que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede /Jamar a un seNicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con las requisitos para obtener seNicios legates gratuitos de un
 programa de seNicios lega/es sin fines de Jucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal SeNices,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de .'as Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con fa carte o el
 co/egio de abogados locales. A VISO: Par fey, la carte tiene derecho a rec/amar las cuotas y /os costos exentos par imponer un gravamen sabre
 cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la carte antes de que la carte pueda desechar el caso.

The name and address of the court is:
(El nombre y direcci6n de la carte es):
                                                                                                          CASE NUMBER:
                                                                                                          (Numero def Caso):   RG')
Alameda County Superior Court
                                                                                                                                 · c;.111. 0)) 8
1225 Fallon Street, Oakland, Ca. 94612
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de te!efono def abogado def demandante, o def demandante que no tiene abogado, es):
Michael J. Reed SBN: 122324 60 CreekTree Lane, Alamo, Ca. 94507 (925) 743-8353

DATE:               AUG       611   4 2021                                        Clerk, by                                                              , Deputy
(Fecha)                       ii                   Chad Finke                     (Secretario)            GINA FU                                         (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010) .)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)) .
                                  NOTICE TO THE PERSON SERVED: You are served
 !SEALJ                           1.              D
                                          as an individual defendant.
                                  2.              D
                                          as the person sued under the fictitious name of (specify) :


                                             3.   D    on behalf of (specify):

                                                  under:   D    CCP 416 .10 (corporation)                  D        CCP 416.60 (minor)
                                                           D    CCP 416.20 (defunct corporation)           D        CCP 416.70 (conservatee)
                                                           D    CCP 416.40 (association or partnership)    D        CCP 416.90 (authorized person)
                                                           D   other (specify).·
                                             4.   D    by personal delivery on (date) :
                                                                                                                                                            Pa e 1 of 1
Form Adopted for Mandatory Use
  Judicial Council of California
                                                                           SUMMONS                                               Code of Civil Procedure§§ 4 12.20, 465
                                                                                                                                                   www.courtinfo. ca.gov
  SUM -100 [Rev. July 1, 2009]
              Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 7 of 69




                                                                                      ENDORSED
     Michael J. Reed SBN 122324                                                           FILED
     Attorney at Law                                                                ALAMEDA COUNTY
 2   60 CreekTree Lane
     Alamo, California 94507                                                           AUG , :4 2021
 3   Telephone: (925) 743-8353                                                 CLERK OF THE SUPERIOR COURT
 4                                                                             By          GI~
     Attorney for: Plaintiff STEPHEN BRATSET
 5

 6                                     SUPERIOR COURT OF CALIFORNIA

 7                                  IN AND FOR THE COUNTY OF ALAMEDA

 8

 9   STEPHEN BRATSET                                      ·   ~     Case No.    RG21
                                                              )
10          Plaintiff,                                        )
                                                              )     COMPLAINT FOR DAMAGES FOR
11          vs.                                               )     EMPLOYMENT DISCRIMINATION AND
                                                              )
12   DHL SUPPLY CHAIN, a business entity form                       HARASSMENT (VIOLATION OF FAIR
                                                              )
     unknown and DOES 1-50,                                   )     EMPLOYMENT AND HOUSING ACT); AND
13                                                            )     REQUEST FOR JURY TRIAL
            Defendants.                                       )
14                                                            )
                                                              )
15

16   PLAINTIFF, STEPHEN BRATSET ALLEGES AS FOLLOWS:

11                                      INTRODUCTORY ALLEGATIONS

18
     1.     Plaintiff, STEPHEN BRATSET, (hereinafter "plaintiff') is a resident of the City of Salida,
19
     California, County of Stanislaus. Plaintiff was employed by defendant, DHL SUPPLY CHAIN, a business
20
     entity form unknown (Hereinafter, "DHL SUPPLY CHAIN"). At the time he was terminated, plaintiff was
21
     employed by DHL SUPPLY CHAIN, which has its business address listed at 7364 Marathon Drive,
22
     Livermore, California 94550.
23
     2.     The true names and/or capacities, whether individual, corporate or associate or otherwise, of a
24
     defendant named in this action as Does 1 through 50, inclusive are unknown to plaintiff at this time;
25
     therefore, plaintiff sues such defendants by said fictitious names, and plaintiff will amend this complaint to
26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


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     show their true names and capacities upon discovery of same. Plaintiff is informed and believes, and

 2   thereon alleges that each of these fictitiously named defendants is responsible in some manner for the

 3   occurrences herein alleged and that, plaintiffs injuries as herein alleged were proximately caused by the
 4   aforementioned defendants.
 5          Plaintiff is informed and believes and thereon alleges that each of the defendants herein was, at all
     3.
 6   times relevant to this action, the agent, employer, employee, representing partner, joint venturer or successor
 7
     in interest of the remaining defendants and was acting within the course and scope of that relationship.
 8
     Plaintiff is further informed and believes and thereon alleges that each of the defendants herein, gave
 9
     consent to, ratified, and authorized the acts alleged herein of each of the remaining defendants.
     4.     Plaintiff is informed and believes and thereon alleges that defendant DHL SUPPLY CHAIN was a
11
     corporation, qualified to do business in the State of California, doing business in the State of California and
12
     as such was subject to the laws of the State of California. At all times material to this complaint, defendant
13
     DHL SUPPLY CHAIN was a corporation doing business in the County of Alameda, California. Plaintiff is
14
     informed and believes and thereon alleges that defendant DHL SUPPLY CHAIN was, and at times herein
15
     mentioned in this complaint, was plaintiffs employer and was responsible in some manner for the acts and
16
     occurrences herein alleged.
17
     5.     Defendant, DHL SUPPLY CHAIN is an "employer", employing fiv~ or more persons, and as such is
18
     subject to suit under the California Fair Employment and Housing Act pursuant to California Government
19
     Code Section 12926(d).
20
     6.     Plaintiff is informed and believes ,and thereon alleges that this court is the proper court because the
21
     injury to plaintiff, STEPHEN BRATSET occurred within its jurisdictional area and the principal place of
22
     business of the defendant is located within its jurisdictional area.
23
     7.     Plaintiff commenced his employment with and was employed by Defendants continuing through
24
     December 27, 2019.
25
     8.     At all material times, various employees, whose identities are currently unknown, were supervisory
26
     employees of defendant DHL SUPPLY CHAIN and plaintiffs supervisors and in doing the things
27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRJAL
28


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              Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 9 of 69
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     hereinafter alleged said employees were acting as the agents of Defendants and were acting within the

 2   course and scope of that relationship.

 3   9.     Throughout the period that plaintiff was employed by DEFENDANTS, DEFENDANTS acting

 4   through their agents and plaintiffs managers, supervisors and others engaged in intentional acts with the

 5   intent of discriminating against and harassing plaintiff on account of his race and age in violation of the

 6   provisions of the California Fair Employment and Housing Act (FEHA) (Govt. C. §§12900- 12996).

 7   During the course of his employment, plaintiff came under the supervision of Defendant's managers and

 8   supervisors who subjected plaintiff to differential terms and conditions of employment because of his race

 9   and age. These differential terms and conditions of employment included but were not limited to

1o   harassment not experienced by employees who were of a different race and younger than plaintiff, as well as

11   excessive criticism not otherwise directed to employees who were not disabled. Such discrimination and

12   harassment consisted of, but was not limited to, unfounded complaints made against plaintiff concerning

13   plaintiffs work, retaliation against plaintiff, denial of advancement, promotions, severance package,

14   retirement package and other benefits, and repeated acts of harassment and discrimination directed at

15   plaintiff which for him created an environmentally hostile work environment and which resulted in his

16   termination on or about December 27, 2019.

17   10.    Plaintiff is informed and believes and thereon alleges that during the time period between November

18   21, 2019 and December 10, 2019, plaintiff reported numerous safety concerns at his employment site to one

19   of the two general managers, including but not limited to multiple :fluorescent tubes out in numerous picking

20   aisles leaving them close to completely dark, the Anti-Fatigue mats in front of vertical lifting machines were

21   always out of place and all over the place causing a trip and fall hazard which was personally witnessed by

22   plaintiff on multiple occasions, safety Chains that cordon off the walking aisles so that forklifts can access

23   the product above the aisle ... were always laying on the ground causing trip and fall hazard, and on one

24   occasion plaintiff witnessed a man coming onto the 3rd shift trip on one and actually become horizontal and

25   land on the ground.

26   11.    On or about December 10th , plaintiff came to work and parked in the parking lot - if plaintiff arrived

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR WRY TRIAL
28


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     early enough plaintiff sought to make friends with the cats there. Plaintiff was engaged in this practice on

 2   the 1Oth , when another employee drove his car into the parking lot of a neighboring business with his car

 3   stereo slamming, and he kept it slamming tmtil I turned on my phone's recorder and went up to his door -

 4   then he finally turned it off.

 5   12.      After going into the building and going to this same General Manager and reporting it to him AND

 6   showing him my video .. .! was suspended for a week and told ifI'm brought back, I'll get back pay.

 7   13.      Subsequently, plaintiff was contacted by phone for termination on the 27th - not a week, but 17 days

 8   later.

 9   14.      Between walking into the building and being told to leave, plaintiff completed three DBL employee

10   complaint forms and made the employer give him copies.

11   15.      Plaintiffs pay rate per hour on his pay stubs is $19 flat; although the job was previously advertised

12   to be $19.50 per hour and the employer presently adve1iises the job's pay rate to be $20.50.

13                                             FIRST CAUSE OF ACTION

14         (Plaintiff STEPHEN BRATSET'S First Cause of Action for Employment Discrimination on The
            Basis of Age, Violation of Fair Employment and Housing Act against Defendant OHL SUPPLY
15                                             CHAIN and DOES 1-50)
16
     16.      Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the
17
     allegations, and each of them, contained in paragraphs 1 through 15.
18
     17.      Throughout the period that plaintiff was employed by DBL SUPPLY CHAIN, DBL SUPPLY
19
     CHAIN acting through its agents and plaintiffs managers, supervisors, co-workers and others engaged in
20
     intentional acts with the intent of discriminating against and harassing plaintiff on account of his age in
21
     violation of the provisions of the California Fair Employment and Housing Act (FERA) (Govt. C. §§12900-
22
     12996)
23
     18.      During the time plaintiff was employed by DBL SUPPLY CHAIN he was discriminated against and
24
     harassed with respect to the terms, conditions, and privileges of his employment because of his age. Such
25
     discrimination and harassment consisted of, but was not limited to, unfounded complaints made against
26
     plaintiff concerning plaintiffs work, retaliation against plaintiff, denial of advancement, transfer,
27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


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     promotions, severance package, retirement package and other benefits, and repeated acts of harassment and

 2   discrimination directed at plaintiff which for him created an environmentally hostile work environment and

 3   which resulted in his termination on or about December 2 7, 2019. Plaintiff is informed and believes and

 4   thereon alleges that he would not have been subjected to this abuse if he were not over the age of 40.

 5   19.     During the entire period of plaintiffs employment, plaintiff's work was highly acceptable and

 6   satisfactory as repeatedly reported to plaintiff during numerous individual and Supervisory meetings during

 7   the course of plaintiffs employment.

 8   20.     Plaintiff was treated in a disparate manner and subjected to DHL SUPPLY CHAIN's unfair policies

 9   and practices in that plaintiff was treated unequal and unlike employees outside of plaintiffs protected

10   classifications. Said unfair policies and practices both limited plaintiff in his job classifications, job

11   assignments and other benefits.

12   21.     As a result of DHL SUPPLY CHAIN's policies and practices plaintiff was unjustly and

13   discriminatorily deprived of equal employment opportunities because of his age.

14   22.     DHL SUPPLY CHAIN' s discriminatory actions against plaintiff, as alleged above, constituted

15   unlawful discrimination in employment on account of age in violation of the Fair Employment and Housing

16   Act (FERA) (Govt. C. §§12900- 12996).

17   23.     During the aforementioned dates, DHL SUPPLY CHAIN also subjected plaintiff to differential

18   treatment. DHL SUPPLY CHAIN made its employment decisions related to the imposition of discipline

19   solely on the basis of improper consideration of the employee's age, and completely subjective analysis in

20   willful disregard of leadership qualities, merit, past record, qualification, reaction of other employees etc.

21   No fair and objective standards were used for decisions related to the imposition of discipline. DHL

22   SUPPLY CHAIN' s decision-making process related to discipline was a primary source of discrimination

23   which resulted in an improper denial of advancement opportunities to employees over the age of 40

24   including plaintiff.

25   24.     As a further proximate result of DHL SUPPLY CHAIN's discriminatory actions against plaintiff, as

26   alleged above, plaintiff has been harmed in that plaintiff has suffered humiliation, mental anguish, and

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


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 1   emotional and physical distress, and has been injured in mind and body. As a result of such discrimination

 2   and consequent harm plaintiff has suffered damages in an amount according to proof.

 3   25.     As a proximate result ofDHL SUPPLY CHAIN's discriminatory and harassing actions against

 4   plaintiff as alleged above, plaintiff has been harmed in that plaintiff has sustained substantial compensable

 5   losses, including, but not limited to: losses in earnings, wages, salary, commissions, bonuses, deferred

 6   compensation and other employment benefits, injuries to plaintiffs protected property interests, general

 7   damage to plaintiffs reputation, loss due to stigma, injury to plaintiffs property, business, trade, profession

 8   and occupation, the expenses plaintiff has incurred mitigating the conduct of DHL SUPPLY CHAIN, and

 9   loss of earnings, deferred compensation and other employment benefits, the attorneys' fees and other

10   litigation expenses plaintiff has incurred and will continue to incur in prosecuting this action, interest on the

11   amount of losses incurred in earnings, deferred compensation and other employee benefits, the interest on

12   borrowed money, the value of plaintiffs time in prosecuting this action, the travel expenses plaintiff has

13   incurred and will continue to incur in prosecuting this action; other economic losses, other incidental

14   expenses and other special and general damages. Plaintiffs substantial compensable losses are in amounts

15   not fully ascertained.

16   26.     On or about March 18, 2020, and within one year of the date of the last act of the continuing pattern

17   and practice of discrimination and harassment herein alleged against defendant by plaintiff, plaintiff filed a

18   charge of discrimination with the California Department of Fair Employment and Housing (hereinafter,

19   "DFEH").

20   27.    On or about March 18, 2020, the DFEH issued to plaintiff a notice of right to bring a civil action

21   against the defendant based on the charge of discrimination filed with the DFEH.

22   28.    Thereafter on or about March 23, 2020, the JUDICIAL COUNCIL OF CALIFORNIA

23   issued its STATEWIDE ORDER BY HON. TANI G. CANTIL-SAKAUYE, CHIEF JUSTICE OF

24   CALIFORNIA AND CHAIR OF THE JUDICIAL COUNCIL MARCH 23, 2020 which recited the

25   following:

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
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     "The World Health Organization, the United States Centers for Disease Control and Prevention (CDC), and

 2   the State of California have recognized that the world, country, and state face a life-threatening pandemic

 3   caused by the COVID-19 virus. As of March 23, 2020, the CDC reported that there are more than 40,000

 4   confirmed COVID-19 cases in the United States, and more than 500 deaths. In California, the Department

 5   of Public Health reports more than 1,700 confirmed cases and more than 30 deaths. Health officials expect

 6   these figures to rise dramatically unless the population adheres to shelter-in-place guidelines and appropriate

 7   social distancing. As of this date, there is no known cure or vaccination.

 8   In response to the spread of COVID-19, Governor Newsom on March 4, 2020, declared a state of

 9   emergency in California, which was followed on March 13, 2020, by President Trump declaring a national

10   emergency. Beginning on March 16, 2020, California counties began issuing shelter-in-place or stay-at-

11   home orders. On March 19, 2020, Governor Newsom issued Executive Order N-33-20, requiring all

12   Californians to stay home, subject to certain limited exemptions. Courts are included in this exemption.

13   Schools have been closed statewide.

14   The CDC, the California Department of Public Health, and local county health departments have
15   recommended increasingly stringent social distancing measures of at least six feet between people and

16   encouraged vulnerable individuals to avoid public spaces.

17   Courts cannot comply with these health restrictions and continue to operate as they have in the past. Court

18   proceedings require gatherings of court staff, litigants, attorneys, witnesses, and juries, well in excess of the

19   numbers allowed for gathering under current executive and health orders. Many court facilities in California

20   are ill-equipped to effectively allow the social distancing and other public health requirements required to

21   protect people involved in court proceedings and prevent the further spread of COVID-19. Even if court

22   facilities could allow for sufficient social distancing, the closure of schools means that many court
23   employees, litigants, witnesses, and potential jurors cannot leave their homes to attend court proceedings

24   because they must stay home to supervise their children. These restrictions have also made it nearly

25   impossible for courts to assemble juries.

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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     Pursuant to my authority under the California Constitution, article VI, section 6 and Government Code

 2   section 68115, and after careful consideration, balancing the constitutional due process rights of parties in

 3   both criminal and civil proceedings with the health and safety of these parties, the public, court staff,

 4   judicial officers, attorneys, witnesses, jurors, and others present at these proceedings, among other

 5   considerations,."

 6   29.    Thereafter, on April 6, 2020, the California Judicial Council held its second emergency meeting to

 7   address issues arising in the California court system as a result of the COVID-19 pandemic. The Judicial

 8   Council, led by Chief Justice of the California Supreme Court Tani Cantil-Sakauye passed 11 emergency

 9   rules, including Emergency Rule 9, which tolls the statute of limitations for all civil causes of action,

10   beginning on April 6, 2020 and ending 90 days after the governor declares the statewide state of emergency

11   related to COVID-19 is lifted.

12   30.    Thereafter, in or about June 2020, the California Judicial Council amended Emergency Rule 9 of the

13   California Rules of Court and the amended Emergency Rule 9 created two tolling periods depending on the

14   length of the pertinent statute oflimitation. Under Rule 9(a), statutes of limitations that exceed 180 days are

15   tolled from April 6, 2020, until October 1, 2020.

16   31.    This complaint has been filed within one year of PLAINTIFF's receipt of the Notification of Right

17   to Sue and considering the application of the various Covid-19 emergency orders addressed in paragraphs

1s   27 through 30, affecting the time within which civil causes of action were to be filed.

19   32.    The unlawful employment practices complained of above were intentional.

20
                                            SEOND CAUSE OF ACTION
21     (Plaintiff STEPHEN BRATSET' S Second Cause of Action for Age Harassment, Violation of Fair
22
          Employment and Housing Act against Defendant DHL SUPPLY CHAIN and DOES 1-50)

23   33.    Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the

24   allegations, and each of them, contained in paragraphs 1 through 32.

25   34.    At all times mentioned in this complaint, Government Code sections 12940 et seq. were in full force

26   and effect and were binding on defendants. These sections require defendants to refrain from discriminating

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     against and harassing any employee on the basis of age, among other things . Within the time provided by

 2   law, plaintiff filed a complaint with the California Department of Fair Employment and Housing, in full

 3   compliance with these sections, and received a right-to-sue letter.

 4   35.     During the course of plaintiffs employment, defendants created and allowed to exist an

 5   environmentally hostile environment based on age; and defendants discriminated against and harassed
 6   plaintiff on the basis of plaintiffs age. Such discrimination and harassment was in violation of Government

 7   Code section 12940 et seq. and the public policy embodied therein, and has resulted in damage and injury to

 8   plaintiff as alleged herein.

 9   36.     As a proximate result of defendants' conduct, plaintiff has suffered and continues to suffer

10   humiliation, emotional distress, and mental and physical pain and anguish, all to his damage in a sum

11   according to proof.

12   37.     Plaintiff has incurred and continues to incur legal expenses and attorney fees. Plaintiff is presently

13   unaware of the precise amount of these expenses and fees and prays leave of court to amend this complaint

14   when the amounts are more fully known.

15                                           THIRD CAUSE OF ACTION

16     (Plaintiff STEPHEN BRATSET's Third Cause of Action for Employment Discrimination on The
     Basis of Race and National Origin, Violation of Fair Employment and Housing Act against defendant
17                                DHL SUPPLY CHAIN and DOES 1-50)
18
     38.     Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the
19
     allegations, and each of them, contained in paragraphs 1 through 37.
20
     39.     Plaintiff is informed and believes and thereon alleges that throughout the period that plaintiff was
21
     employed by DHL SUPPLY CHAIN, DHL SUPPLY CHAIN acting through its agents and plaintiffs
22
     managers, supervisors and co-workers and others engaged in intentional acts with the intent of
23
     discriminating against and harassing plaintiff on account of his race and national origin (Caucasian male) in
24
     violation of the provisions of the California Fair Employment and Housing Act (FEHA) (Govt. C. §§12900-
25
     12996).
26

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     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
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     40.     Plaintiff is informed and believes and thereon alleges that during the time plaintiff was employed by

 2   DHL SUPPLY CHAIN, he was discriminated against with respect to the terms, conditions, and privileges o

 3   his employment because of his race and national origin as follows: During the course of his employment,

 4   plaintiff came under the supervision of defendant's managers and supervisors who subjected plaintiff to

 5   differential terms and conditions of employment because of his race. These differential terms and
 6   conditions of employment included but were not limited to harassment not experienced by employees whos

 7   race and national origin were different than that of plaintiff, as well as excessive criticism not otherwise

 8   directed to employees whose race and national origin were different than that of plaintiff. Such
 9   discrimination and harassment consisted of, but was not limited to, unfounded complaints made against

1o   plaintiff concerning plaintiffs work, retaliation against plaintiff, denial of advancement, promotions and

11   other benefits, and repeated acts of harassment and discrimination directed at plaintiff which for him created

12   an environmentally hostile work environment.

13   41.     During the aforementioned dates, DHL SUPPLY CHAIN also subjected plaintiff to differential

14   treatment including biased evaluations and denied him equal opportunities for advancement and promotions
15   because of his race and national origin. DHL SUPPLY CHAIN made its employment decisions related to

16   advancement, promotion and discipline on the basis of completely subjective analysis, in willful disregard

17   ofleadership qualities, merit, past record, qualification, reaction of other employees etc. No objective
18   standards were used for recruitment, hiring, discipline and promotion. DHL SUPPLY CHAIN's decision-

19   making process related to advancement, promotion and discipline was a primary source of discrimination
20   which resulted in an improper denial of advancement opportunities to Caucasian employees and in
21   particular to plaintiff.

22   42.     DHL SUPPLY CHAIN knew or should have known of these harassing and discriminatory actions
23   because plaintiffs managers, supervisors and co-workers and others' discriminatory and harassing behavior
24   was brought directly to the attention ofDHL SUPPLY CHAIN. Despite DHL SUPPLY CHAIN's actual

25   and constructive knowledge of the above-mentioned harassment, and the knowledge of its supervisors and

26   agents, DHL SUPPLY CHAIN failed to take immediate and appropriate corrective action to stop the

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRlMINATION AND HARASSMENT
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     discrimination and harassment. Furthermore, before the harassment occurred DHL SUPPLY CHAIN failed

 2   to take all reasonable steps to prevent such harassment and discrimination from occurring.

 3   43.     Plaintiff dreaded working in this environmentally hostile and discriminatory environment and was

 4   under constant stress. This constant pattern of harassment and discrimination caused plaintiff to suffer

 5   constant severe emotional distress including but not limited to fright, shock, nervousness, anxiety, worry,

 6   grief, stress, indignity, apprehension, and fear. Plaintiffs ability to perform his job was severely impacted

 7   by the behavior of defendant's managers and supervisors.

 8   44.     During the entire period of plaintiffs employment, plaintiffs work was highly acceptable and

 9   satisfactory as repeatedly reported to plaintiff during numerous individual and supervisory meetings during

10   the course of plaintiffs employment.

11   45.     Dung the course of plaintiffs employment with DHL SUPPLY CHAIN he complained to DHL

12   SUPPLY CHAIN about DHL SUPPLY CHAIN's managers', supervisors', co-workers' and others'

13   discriminatory and harassing behavior towards him and complained about DHL SUPPLY CHAIN's

14   environmentally hostile and offensive environment. On or about December 27, 2019, DHL SUPPLY

15   CHAIN discharged plaintiff for his alleged violation of policies.

16   46.     Plaintiff as a Caucasian male was treated in a disparate manner and subjected to DHL SUPPLY

17   CHAIN' s unfair policies and practices in that plaintiff was treated unequal and unlike employees whose

1s   race and national origin were different than that of plaintiff. Said unfair policies and practices both limited

19   plaintiff in his job classifications, job assignments and other benefits, because of plaintiffs race, and further

20   resulted in his discharge from employment on or about December 27, 2019.

21   47.     DHL SUPPLY CHAIN denied equal employment opportunities to plaintiff because of plaintiffs

22   race, to wit:

23   A.      The reason given for plaintiffs discharge was a mere pretext for unlawful discrimination.

24   B.      DHL SUPPLY CHAIN did not discharge or discipline similarly situated employees whose race and

25   national origin were different than that of plaintiff who committed similar or more serious policy violations.

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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     48 .   As a result of DHL SUPPLY CHAIN's policies and practices plaintiff was unjustly and

 2   discriminatorily deprived of equal employment opportunities because of his race. As a direct and proximate

 3   result of DHL SUPPLY CHAIN's acts, plaintiff has suffered great and irreparable economic and other loss .

 4   49.    DHL SUPPLY CHAIN's discriminatory actions against plaintiff, as alleged above, constituted

 5   unlawful discrimination in employment on account of race in violation of the Fair Employment and Housing

 6   Act (PEHA) (Govt. C. §§ 12900- 12996).

 7   50.    As a proximate result ofDHL SUPPLY CHAIN's discriminatory actions against plaintiff as alleged

 8   above, plaintiff has been harmed in that plaintiff has suffered the loss of the wages, salary, benefits, and

 9   additional amounts of money plaintiff would have received had he not been terminated. As a result of such

10   discrimination and consequent harm, plaintiff has suffered such damages in an amount according to proof.

11   51.    As a further proximate result of DHL SUPPLY CHAIN's discriminatory actions against plaintiff, as

12   alleged above, plaintiff has been harmed in that plaintiff has suffered humiliation, mental anguish, and

13   emotional and physical distress, and has been injured in mind and body. As a result of such discrimination

14   and consequent harm plaintiff has suffered damages in an amount according to proof.

15   52.    As a proximate result ofDHL SUPPLY CHAIN's discriminatory and harassing actions against

16   plaintiff as alleged above, plaintiff has been harmed in that plaintiff has sustained substantial compensable

17   losses, including, but not limited to: losses in earnings, wages, salary, commissions, deferred compensation

18   and other employment benefits, injuries to plaintiffs protected property interests, general damage to

19   plaintiffs reputation, loss due to stigma, injury to plaintiffs property, business, trade, profession and

20   occupation, the expenses plaintiff has incurred mitigating the conduct of DHL SUPPLY CHAIN, losses

21   incurred seeking substitute employment and loss of earnings, deferred compensation and other employment

22   benefits, the attorneys' fees and other litigation expenses plaintiff has incurred and will continue to incur in

23   prosecuting this action, interest on the amount of losses incurred in earnings, deferred compensation and

24   other employee benefits, the interest on borrowed money, the value of plaintiffs time in prosecuting this

25   action, the travel expenses plaintiff has incurred and will continue to incur in prosecuting this action; other

26   economic losses, other incidental expenses and other special and general damages. Plaintiffs substantial

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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     compensable losses are in amounts not fully ascertained.

 2   53.       On or about March 18, 2020, and within one year of the date of the last act of the continuing pattern

 3   and practice of discrimination and harassment herein alleged against defendant by plaintiff, plaintiff filed a

 4   charge of discrimination with the California Department of Fair Employment and Housing (hereinafter,

 5   "DFEH").

 6   54.       On or about March 18, 2020, the DFEH issued to plaintiff a notice of right to bring a civil action

 7   against the defendant based on the charge of discrimination filed with the DFEH.
 8                                          FOURTH CAUSE OF ACTION

 9     (Plaintiff STEPHEN BRATSET's Fourth Cause of Action for Wrongful Discharge in Violation of
                    Public Policy against Defendants DHL SUPPLY CHAIN and DOES 1-50)
     55.       Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the
11
     allegations, and each of them, contained in paragraphs 1 through 54.
12
     56.       Plaintiff entered employment with defendants and duly performed all of the conditions of his
13
     employment.
14
     57.       At all times mentioned in the complaint, California Constitution Article I Section 8 was in full force
15
     and effect and was binding on DEFENDANTS. This section required DEFENDANTS to refrain from
16
     discriminating against any employee on the basis of race or age.
17
     58.       Plaintiff is informed and believes and thereon alleges that his age or race, creed, color or national or
18
     ethnic origin was a factor in DEFENDANTS 's discriminatory and harassing treatment of him which
19
     consisted of, but was not limited to retaliation against plaintiff and DEFENDANTS's decision to terminate
20
     him. Such discrimination is in violation of the public policy of the State of California as reflected in
21
     California Constitution Article I, Section 8, and has resulted in damages and injury to plaintiff as alleged
22
     herein.
23
     59.       DEFENDANTS' actions violated the provisions of the Fair Employment and Housing Act (PEHA)
24
     (Government Code §§12900-12966). Such discrimination is in violation of the public policy of the State of
25

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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         California as reflected in California FERA, and has resulted in damages and injury to plaintiff as alleged

 2       herein.
 3       60.       The actions alleged in Paragraphs 1- 84 above, specifically the fact that plaintiff was subjected to
 4       disability discrimination and harassment by DEFENDANTS caused plaintiff to be wrongfully discharged
 5       from his employment in violation of public policy. Plaintiff was in essence effectively discharged in
 6
         retaliation for attempting to exercise his fundamental right to be free from disability discrimination and
 7
         harassment.
 8                 As a proximate result of the wrongful discharge of plaintiff, plaintiff has become so severely
         61.
 9       emotionally distressed and physically ill all to plaintiffs damage in an amount according to proof.

                                                   FIFTH CAUSE OF ACTION
11              (Plaintiff STEPHEN BRATSET' s Fifth Cause of Action for Retaliation, Violation of Fair
               Employment and Housing Act against Defendants DHL SUPPLY CHAIN and DOES 1-50)
12
         62.       Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the
13

14
         allegations, and each of them, contained in paragraphs 1 through 61 .
         63.       During the course of plaintiffs employment with DEFENDANTS, he complained to
15
         DEFENDANTS about DEFENDANTS' managers', supervisors', co-workers' and others' unfair,
16

         discriminatory and harassing behavior towards him and complained about DEFENDANTS'
17
         environmentally hostile and offensive environment. On or about December 27, 2019, Defendants retaliated
18
         against plaintiff for making these complaints by terminating his employment with DEFENDANTS.
19
         64.       DEFENDANTS' treatment of plaintiff was in violation of Government Code section 12940(h).
20
         Within the time provided by law, plaintiff filed a complaint with the California Department of Fair
21
         Employment and Housing (hereafter, DFEH) against all named defendants and received a right to sue letter.
22
         65.       As a proximate result of DEFENDANTS' retaliatory actions against plaintiff as alleged above,
23

         plaintiff has been harmed in that plaintiff has sustained substantial compensable losses, including, but not
24

         limited to : losses in earnings, wages, salary, commissions, deferred compensation and other employment
25

     '   benefits; injuries to plaintiffs protected property interests; general damage to plaintiffs reputation; loss due
26

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     to stigma; injury to plaintiffs property, business, trade, profession and occupation; the expenses plaintiff

 2   has incurred mitigating the conduct of DEFENDANTS ; deferred compensation and other employment

 3   benefits; the attorneys' fees and other litigation expenses plaintiff has incurred and will continue to incur in

 4   prosecuting this action; interest on the amount of losses incurred in earnings, deferred compensation and

 5   other employee benefits; the interest on borrowed money; the value of plaintiffs time in prosecuting this

 6   action; the travel expenses plaintiff has incurred and will continue to incur in prosecuting this action; other

 7   economic losses; other incidental expenses; and other special and general damages. Plaintiffs substantial

 8   compensable losses are in amounts not fully ascertained.

 9   66.    As a further proximate result of DEFENDANTS' retaliatory actions against plaintiff as alleged

10   above and the acts, omissions and conduct of DEFENDANTS, plaintiff has suffered, and continues to

11   suffer, embarrassment, mortification, indignity and humiliation and severe physical, mental and emotional

12   distress and discomfort and irreparable injury to his business reputation, all to his detriment and damage in

13   amounts not fully ascertained, and for which plaintiff has been forced to seek personal, medical and related

14   care and treatment and plaintiff has incurred and will continue to incur, expenses therefore.

15   67.    On or about March 18, 2020, and within one year of the date of the last act of the continuing pattern
16   and practice of discrimination and harassment herein alleged against defendant by plaintiff, plaintiff filed a

17   charge of discrimination with the California Department of Fair Employment and Housing (hereinafter,

18   "DFEH").

19   68.    On or about March 18, 2020, the DFEH issued to plaintiff a notice of right to bring a civil action

20   against the defendant based on the charge of discrimination filed with the DFEH.

21                                           SIXTH CAUSE OF ACTION

22    (Plaintiff STEPHEN BRATSET's s Sixth Cause of Action against Defendant DHL SUPPLY CHAIN
       Constructive Discharge in Violation of Public Policy - Plaintiff Required to Violate Public Policy)
23
     69.    Plaintiff realleges and incorporates herein by reference each and every allegation contained in
24
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
25

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
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     70.     Plaintiff was constructively discharged from his employment with Defendants for reasons that

 2   violate publi~ policy including, but not limited to, requiring Plaintiff to engage in unsafe activity, as alleged

 3   herein, in order to remain employed by Defendants, and for Plaintiff reporting in good faith the working

 4   conditions he believed to be unsafe.

 5   71.     Defendants' requirement that Plaintiff engage in unsafe activity, as alleged herein, in order to remain

 6   employed by Defendants was so intolerable that a reasonable person in Plaintiffs position would have had

 7   no reasonable alternative except to resign. Plaintiff did in fact resign as a result of Defendants' conduct as

 8   alleged herein.

 9   72.     As alleged herein, Plaintiff was subjected to working conditions that violated public policy, in that

1o   he was forced to engage in unsafe activity in order to remain employed by Defendants. Defendants

11   intentionally created or knowingly permitted these unsafe working conditions to exist. The conditions unde

12   which Plaintiff was forced to work were so intolerable that a reasonable person in Plaintiffs position would

13   have had no reasonable alternative except to resign.

14   73.     As a legal and proximate result of Defendants' conduct as alleged hereinabove, Plaintiff has been

15   harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts of money Plaintiff

16   would have received but for the aforementioned conduct including future wages and benefits that Plaintiff

17   would have earned for the length of time the employment with Defendants was reasonably certain to

18   continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount

19   according to proof at trial.
                       I   .
20   74.     As a l rther legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been

21   harmed in thi1 Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.

22   As a result ofi such conduct and consequent harm, Plaintiff has suffered damages in an amount according to

23   proof at trial.

24   75.     The above-recited actions of Defendants were done with malice, fraud and oppression, and in

25   conscious, deII picable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek

26

27   COMPLAIN FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRJAL
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     and does seek punitive damages in an amount according to proof against Defendants pursuant to California

 2   Civil Code section 3294 and to the extent permitted by law.

 3                                         SEVENTH CAUSE OF ACTION

 4         (Plaintiff STEPHEN BRATSET's Seventh Cause of Action against Defendant DHL SUPPLY
           CHAIN; Constructive Discharge in Violation of Public Policy-Plaintiff Required to Endure
 5                    Intolerable Conditions for Improper Purpose That Violate Public Policy)
 6   76.     Plaintiff realleges and incorporates herein by reference each and every allegation contained in

 7   paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.

 8   77.     Plaintiff further alleges that throughout the time of his employment Defendants intentionally created

 9   I or knowingly permitted/ or allowed these unsafe working conditions to exist at plaintiff's job sites that
10   directly affected the health and safety of its employees including plaintiff working at those job sites. These

11   unsafe and unhealthy working conditions included but were not limited to the conditions identified in the

12   preceding paragraphs.

13   78.     Plaintiff was subjected to working conditions that violated public policy, in that throughout the time

14   of his employment with Defendants, plaintiff was treated intolerably for having made good faith complaints

15   to upper-level Defendant owners, managers and supervisors regarding the unhealthy and unsafe working

16   conditions he observed, and which he believed he was subjected to. Throughout his employment plaintiff

17   refused to participate in, countenance, acquiesce or tolerate the unsafe working conditions described above.

18   As a result of plaintiff reporting the unsafe working conditions described above to management plaintiff

19   ultimately was constructively terminated from his employment with Defendants.

20   79.     Defendants' wrongful discharge of plaintiff was in violation of well-established public policies that

21   prohibit an employer from retaliating against those employees who in good faith report working conditions

22   they believe to be unsafe as set forth in California Labor Code § 6310.

23   80.     Plaintiff was constructively discharged from his employment with Defendants for reasons that

24   violate public policy including, but not limited to, those allegations as set forth in the Statement of Facts

25   included hereinabove and, specifically, his having been treated intolerably for having made good faith

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
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     complaints to upper-level Defendant owners, managers and supervisors regarding the unhealthy and unsafe

 2   working conditions he observed, and which he believed he was subjected to .

 3   81.     The working conditions set forth above were so intolerable that a reasonable person in Plaintiffs

 4   position would have had no reasonable alternative except to resign. Plaintiff did in fact resign as a result of

 s   Defendants' conduct as alleged herein.

 6   82.     As alleged herein, Plaintiff was subjected to working conditions that violated public policy, in that

 7   Plaintiff was treated intolerably for having made good faith complaints to upper-level Defendant owners,

 8   managers and supervisors regarding the unhealthy and unsafe working conditions he observed, and which

 9   he believed he was subjected to. Defendants intentionally created or knowingly permitted these working

10   conditions. The conditions under which Plaintiff was forced to work were so intolerable that a reasonable

11   person in Plaintiffs position would have had no reasonable alternative except to resign.

12   83 .    As a legal and proximate result of Defendants' conduct as alleged hereinabove, Plaintiff has been

13   harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts c,f money Plaintiff

14   would have received but for the aforementioned conduct including future wages and benefits that Plaintiff

15   would have earned for the length of time the employment with Defendants was reason2cbly certain to

16   continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount

17   according to proof at trial.

18   84.     As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been

19   harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.

20   As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount according to

21   proof at trial.

22   85 .    The above-recited actions of Defendants were done with malice, fraud and oppression, and in
23   conscious, despicable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek

24   and does seek punitive damages in an amount according to proof against Defendants pursuant to California

25   Civil Code section 3294 and to the extent permitted by law.

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR mRY TRJAL
28


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                                           EIGHTH CAUSE OF ACTION

 2   (Plaintiff STEPHEN BRATSET's Eighth Cause of Action against Defendant DHL SUPPLY CHAIN;
                  Wrongful Termination in Violation of Labor Code, Cal. Labor Code§ 6311)
 3
     86.     Plaintiff realleges and incorporates herein by reference each and every allegation contained in
 4
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
 5
     87.     California Labor Code section 6311 states that, "no employee shall be laid off or discharged for
 6
     refusing to perform work in the performance of which this code, including Section 6400, any occupational
 7
     safety or health standard or any safety order of the division or standards board will be violated, where the
 8
     violation would create a real and apparent hazard to the employee or his or her fellow employees. Any
 9
     employee who is laid off or discharged in violation of this section or is otherwise not paid because he or she

     refused to perform work in the performance of which this code, any occupational safety or health standard
11
     or any safety order of the division or standards board will be violated and where the violation would create a
12
     real and apparent hazard to the employee or his or her fellow employees shall have a right of action for
13
     wages for the time the employee is without work as a result of the layoff or discharge."
14
     88.     As set forth hereinabove, Plaintiff, at the command of Defendants, was forced to engage in unsafe in
15
     violation of California Labor Code section 6311.
16
     89.     Defendants conduct as alleged herein, created a real and apparent hazard and caused harm thereby to
17
     Plaintiff.

     90.     As a legal and proximate result of Defendants conduct as alleged hereinabove, Plaintiff has been
19
     harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts of money Plaintiff
20
     would have received but for the aforementioned conduct including future wages and benefits that Plaintiff
21
     would have earned for the length of time the employment with Defendants was reasonably certain to
22
     continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount
23
     according to proof at trial.
24
     91.     As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been
25
     harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.
26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OFF AIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR ITJRY TRIAL
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     As a result of such conduct and consequent hmm, Plaintiff has suffered damages in an amount according to

 2   proof at trial.

 3   92.       The above-recited actions of Defendants were done with malice, fraud and oppression, and in

 4   conscious, despicable and reckless disregard of Plaintiff's rights. Accordingly, Plaintiff is entitled to seek

 5   and does seek punitive damages in an amount according to proof against Defendants pursuant to

 6   California Civil Code section 3294 and to the extent permitted by law.

 7                                            NINTH CAUSE OF ACTION

 8    (Plaintiff STEPHEN BRATSET's Ninth Cause of Action against Defendant DHL SUPPLY CHAIN;
                   Wrongful Termination in Violation of Labor Code, Cal. Labor Code§ 6310)
 9
     93.       Plaintiff realleges and incorporates herein by reference each and every allegation contained in

     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth
11
     herein.
12
     94.       Plaintiff further alleges that throughout the time of his employment Defendants intentionally created
13
     I or knowingly permitted/ or allowed these unsafe working conditions to exist at plaintiff's job sites that
14
     directly affected the health and safety of its employees including plaintiff working at those job sites. These
15
     unsafe and unhealthy working conditions included but were not limited to the conditions identified in the
16
     preceding paragraphs.
17
     95.       Plaintiff was subjected to working conditions that violated public policy, in that throughout the time
18
     of his employment with Defendants, plaintiff was treated intolerably for having made good faith complaints
19
     to upper-level Defendant owners, managers and supervisors regarding the unhealthy and unsafe working
20
     conditions he observed, and which he believed he was subjected to. Throughout his employment plaintiff
21
     refused to participate in, countenance, acquiesce or tolerate the unsafe working conditions described above.
22
     As a result of plaintiff reporting the unsafe working conditions described above to management plaintiff
23
     ultimately was terminated from his employment with Defendants.
24
     96.       Defendants' wrongful discharge of plaintiff was in violation of well-established public policies that
25

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


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     prohibit an employer from retaliating against those employees who in good faith report working conditions

 2   they believe to be unsafe as set forth in California Labor Code § 6310.

 3   97.     As a legal and proximate result of Defendants conduct as alleged hereinabove, Plaintiff has been

 4   harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts of money Plaintiff

 5   would have received but for the aforementioned conduct including future wages and benefits that Plaintiff

 6   would have earned for the length of time the employment with Defendants was reasonably certain to

 7   continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount

 8   according to proof at trial.

 9   98.     As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been

10   harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.

11   As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount according to

12   proof at trial.

13   99.     As a proximate result of Defendant's retaliatory actions against plaintiff as alleged above, plaintiff

14   has been harmed in that plaintiff has sustained substantial compensable losses, including, but not limited to:

15   losses in earnings, wages, salary, commissions, bonuses, deferred compensation and other employment

16   benefits; injuries to plaintiffs protected property interests; general damage to plaintiffs reputation; loss due

17   to stigma; injury to plaintiffs property, business, trade, profession and occupation; the expenses plaintiff

18   has incurred mitigating the conduct of Defendant; deferred compensation and other employment benefits;

19   the attorneys' fees and other litigation expenses plaintiff has incurred and will continue to incur in

20   prosecuting this action; interest on the amount of losses incurred in earnings, deferred compensation and

21   other employee benefits; the interest on borrowed money; the value of plaintiffs time in prosecuting this

22   action; the travel expenses plaintiff has incurred and will continue to incur in prosecuting this action; other

23   economic losses; other incidental expenses; and other special and general damages. Plaintiffs substantial

24   compensable losses are in amounts not fully ascertained.

25

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27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT) ; AND REQUEST FOR JURY TRIAL
28


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     100.     The above-recited actions of Defendants were done with malice, fraud and oppression, and in

 2   conscious, despicable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek

 3   and does seek punitive damages in an amount according to proof against Defendants pursuant to

 4   California Civil Code section 3294 and to the extent permitted by law.
 s                                           TENTH CAUSE OF ACTION

 6                        (Plaintiff STEPHEN BRATSET's Tenth Cause of Action against
                       Defendant DHL SUPPLY CHAIN; Breach of Implied in Fact Contract)
 7
     101 .    Plaintiff realleges and incorporates herein by reference each and every allegation contained in
 8
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
 9
     102.     Defendants promised, by words or conduct, that Plaintiff would only be discharged or demoted for
10
     good cause.
11
     103.     Defendants' requirement that Plaintiff engage in unsafe activities in order to remain employed by
12
     Defendants constitutes Defendants' failure to perform under, and breach of, the implied contract entered
13
     into by and between the parties. Also, Defendant promised, by words or conduct, to discharge Plaintiff only
14
     for good cause and breached that promise by discharging Plaintiff for reporting the offensive, improper,
15
     unsafe and illegal conduct of Defendants and for refusing to engage in such conduct.
16
     104.     As a result of Defendants' breach of the employment contract, Plaintiff has suffered monetary
17
     damages.
18
     105.     As a direct, foreseeable and proximate result of the above actions, Plaintiff has been harmed in that
19
     he has suffered the loss of wages, salary, benefits including front and back pay, and additional amounts of
20
     money Plaintiff would have received but for the aforementioned conduct including future wages and
21
     benefits that Plaintiff would have earned for the length of time the employment with Defendants was
22
     reasonably certain to continue.
23
                                          ELEVENTH CAUSE OF ACTION
24
             (Plaintiff's Eleventh Cause of Action against Defendant DHL SUPPLY CHAIN; Breach of
25                                             Employment Contract)

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
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     106.   Plaintiff realleges and incorporates herein by reference each and every allegation contained in

 2   paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.

 3   107.   Plaintiff and Defendants entered into an employment relationship. Defendants promised, by words o

 4   conduct, that Plaintiff would only be discharged or demoted for good cause.
 5   108.   Plaintiff substantially performed his job duties except for the performance of any duties which were

 6   excused.
 7   109.   Defendants discharged Plaintiff without good cause.
 8   110.   As a result of Defendants breach of the employment contract, Plaintiff has suffered monetary

 9   damages.
1o   111.   As a direct, foreseeable and proximate result of the above actions, Plaintiff has been harmed in that
11   he has suffered the loss of wages, salary, benefits including front and back pay, and additional amounts of

12   money Plaintiff would have received but for the aforementioned conduct including future wages and

13   benefits that Plaintiff would have earned for the length of time the employment with Defendants was

14   reasonably certain to continue.
15                                        TWELFTH CAUSE OF ACTION

16   (Plaintiff's Twelfth Cause of Action against Defendant DHL SUPPLY CHAIN; Unlawful Retaliation,
                                    Violation of Cal. Labor Code§ 1102.5)
17
     112.   Plaintiff realleges and incorporates herein by reference each and every allegation contained in
18
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
19
     113.   Plaintiff refused to engage in the unsafe and potentially illegal activities as alleged hereinabove and,
20
     in fact, reported such activities to senior company officials employed by Defendants. In response to such
21
     refusal and complaining, Plaintiff was routinely not called in to work ultimately culminating in his
22
     discharge.
23
     114.   Plaintiffs repeated complaining and refusal to engage in such activities was a motivating reason for
24
     Defendants' decision to not call Plaintiff into work ultimately culminating in his discharge.
25

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
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     115.    California Labor Code section 1102.5 specifically states that "an employer may not retaliate against

 2   an employee for refusing to participate in an activity that would result in a violation of state or federal

 3   statute ... " Defendants insisted that Plaintiff participate in the unsafe and potentially illegal activities as

 4   alleged hereinabove, and upon his complaining or express refusal, he was summarily sent home and kept ou

 s   ofwork.
 6   116.    Labor Code section 1102.5(b) provides, in relevant part, that:

 7           "No employer shall retaliate against an employee for disclosing information to a government or law
             enforcement agency, where the employee has reasonable cause to believe that the information
 8           discloses a violation of a state or federal statute."
 9   117.    Labor Code section 1103 makes a violation of Labor Code section 1102.5 a misdemeanor.

     118.    In discharging Plaintiff, Defendants have violated Labor Code section 1102.5.

11
     119.    Plaintiff was harmed as a result of Defendants' conduct.
12
     120.    Defendants' retaliatory conduct was a substantial factor in causing Plaintiffs harm.
13
     121.    As a direct, foreseeable and proximate result of the above actions, Plaintiff has been harmed in that
14
     he has suffered the loss of wages, salary, benefits including front and back pay, and additional amounts of
15
     money Plaintiff would have received but for the aforementioned conduct including future wages and
16
     benefits that Plaintiff would have earned for the length of time the employment with Defendants was
17
     reasonably certain to continue.
18
     122.    As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been
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     harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.
20
     As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount according to
21
     proof at trial.
22
     123.    The above-recited actions of Defendants were done with malice, fraud and oppression, and in
23
     conscious, despicable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek
24
     and does seek punitive damages in an amount according to proof against Defendants pursuant to California
25
     Civil Code section 3294 and to the extent permitted by law.
26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


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                                        THIRTEENTH CAUSE OF ACTION

 2      (Plaintiff STEPHEN BRATSET's Thirteenth Cause of Action against Defendant DHL SUPPLY
                    CHAIN; Breach of the Implied Covenant of Good Faith and Fair Dealing)
 3
     124.    Plaintiff realleges and incorporates herein by reference each and every allegation contained in
 4
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
 5
     125.    Plaintiff entered into an employment relationship with Defendants.
 6
     126.    Plaintiff substantially performed all of his job duties except for the performance of any duties which
 7
     were excused.
 8
     127.    Defendants' requirement that Plaintiff er.gage in unsafe and potentially illegal activities, as set forth
 9
     hereinabove, in order to continue his employment with Defendants, constitutes a failure to act fairly and in
10
     good faith.
11
     128.    As a legal and proximate result of Defenjants' conduct as alleged hereinabove. Plaintiff has been
12
     harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts of money Plaintiff
13
     would have received but for the aforementioned conduct including future wages and benefits that Plaintiff
14
     would have earned for the length of time the em;:,loyment with Defendants was reasonably certain to
15
     continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount
16
     according to proof at trial.
17
     129.    As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been
18
     harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.
19
     As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount according to
20
     proof at trial.
21
     130.    The above-recited actions of Defendants were done with malice, fraud and oppression, and in
22
     conscious, despicable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek
23
     and does seek punitive damages in an amount according to proof against Defendants pursuant to California
24
     Civil Code section 3294 and to the extent permitted by law.
25

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


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                                          FOURTEENTH AUSE OF ACTION

 2           (Plaintiff STEPHEN BRATSE T's Fourteenth Cause of Action for Violation of California
          Government Code Section 12940(k) against Defendants DHL SUPPLY CHAIN and DOES 1-50)
 3
     131.      Plaintiff realleges and incorporates herein by reference each and every allegation contained in
 4
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth
 5
     herein.
 6
     132.      At all times mentioned in this complaint, Government Code section 12940(k) was in full force and
 7
     effect and was binding on defendants. This subsection requires defendants to take all reasonable steps
 8
     necessary to prevent discrimination and harassment from occurring. As alleged above, defendants violated
 9
     this subsection by failing to take all reasonable steps necessary to prevent discrimination and harassment

     from occurring. Within the time provided by law, plaintiff filed a Complaint with the California
11
     Department of Fair Employment and Housing and received a right-to-sue letter.
12
     13 3.     As a proximate result of defendants' conduct, plaintiff has suffered and continues to suffer
13
     humiliation, emotional distress, and mental and physical pain and anguish, all to his damage in a sum
14
     according to proof.
15
     134.      Defendants' conduct as described above was willful, despicable, knowing, and intentional;
16
     accordingly, plaintiff seeks an award of punitive and exemplary damages in an amount according to proof.
17
     13 5.     Plaintiff has incurred and continues to incur legal expenses and attorney fees. Plaintiff is presently
18
     unaware of the precise amount of these expenses and fees and prays leave of comi to amend this complaint
19
     when the amounts are more fully known.
20
     WHEREFORE, plaintiff prays for judgment as follows:
21
     1.        Compensatory damages for back pay, according to proof,
22
     2.        Compensatory damages for physical and emotional injuries and accompanying pain and
23
     suffering, according to proof,
24
     3.        For medical and related expenses according to proof,
25
     4.        For loss of earnings according to proof,
26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR WRY TRJAL
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                                                                             'l




     5.       For compensatory damages for disability discrimination according to proof,

 2   6.       For reasonable attorney fees, and for costs of suit incurred

 3   7.       For exemplary damages; and

 4   8.       For such other and further relief as the Court may deem proper and just.

 5                                           REQUEST FOR JURY TRIAL

 6   Plaintiff STEPHEN BRATSET requests a trial by jury on all causes
          .
 7
     Dated: August 23, 2021
 8
                                                                       l\ ichael J. Reed                      ----
 9                                                                  Attorney for Plaintiff, STEPHEN BRATSET
     (D575.002 ND)
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27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR mRY TRJAL
28



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                                                             7                                                                7
  '     Attorney at Law
        Attn: Reed, Michael J.
                                                                            '
        60 CreekTree Lane
        Alamo, CA 94507
  L                                                          J              L                                                 J

                              Su erior Court of California, Count of Alameda
      Bratset                                                                           No. RG21110598
                                             Plaintiff/Petitioner(s)
                                   vs.                                       NOTICE OF CASE MANAGEMENT
                                                                               CONFERENCE AND ORDER
      DHLSu             Chain                                                        Unlimited Jurisdiction
                                          Defendant/Respondent(s)
                             (Abbreviated Title)

  TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  Notice is given that a Case Management Conference has been scheduled as follows:

Date: 01/12/2022             Department: 520                                                  Judge: Julia Spain
rTime: 09:30 AM                Location: Hayward Hall of Justice                              Clerk: Danielle Labrecque
                                         3rd Floor                                            Clerk telephone: (510) 690-2729
                                         24405 Amador Street, Hayward CA 94544                E-mail:
       •                                                                                      Dept520@alameda.courts.ca.gov
                                Internet: www.alameda.courts.ca.gov                           Fax: (510) 267-1531

                                                                 ORDERS
  1.       Plaintiff must:

               a.    Serve all named defendants and file proofs of service on those defendants with the court within 60 days
                     of the filing of the complaint (Cal. Rules of Court, 3.1 l0(b)); and

               b.    Give notice of this conference to all other parties and file proof of service.

 2.     Defendant must respond as stated on the summons.

 3.     All parties who have appeared before the date of the conference must:

               a.    Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3. 724;

               b.    File and serve a completed Case Management Statement on Form CM-110 at least 15 days before the
                     Case Management Conference (Cal. Rules of Court, rule 3.725); and

               c.    Post jury fees as required by Code of Civil Procedure section 631.

 4.     If you do not follow the orders above, the court may issue an order to show cause why you should not be
        sanctioned under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings
        or dismissal of the action.

 5.     You are further ordered to appear in person or through your attorney of record at the Case Management
        Conference noticed above. You must be thoroughly familiar with the case and fully authorized to proceed. You
        may be able to appear at Case Management Conferences by telephone. Contact CourtCall, an independent
        vendor, at least three business days before the scheduled conference. Call 1-888-882-6878, or fax a service
        request to (888) 882-2946. The vendor charges for this service.

 6.     You may file Case Management Conference Statements by E-Delivery. Submit them directly to the E-Delivery
        Fax Number (510) 267-5732. No fee is charged for this service. For further information, go to
        www.alameda.courts.ca.gov/ ff

 7.     The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
        conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
        Resolution, such as mediation or arbitration. Check the website of each assigned department for procedures
        regarding tentative case management orders at www.alameda.courts.ca.gov/dc.


 Form Approved for Mandatory Use                NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER                  Page 1 of 2
 Superior Court of California, County
 of Alameda
 ALA CIV-100 [Rev. 07-01-2015]
              Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 35 of 69


                                                   CLERK'S CERTIFICATE OF MAILING
  I ce1tify that the following is tiue and correct: I am the clerk of the above-named comt and not a party to this cause. I served this Notice of
  Heaiing by placing copies in envelopes addressed as shown hereon and then by sealing and placing them for collection, stamping or metering
  with prepaid postage, and mailing on the date stated below, in the United States mail at Alameda County, California, following standard court
  practices.
                        Executed on 08/27 /202 l.

                                                                   By
                                                                                                       Deputy Clerk




Form Approved for Mandatory Use                   NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER                                 Page 2 of 2
Superior Court of California, County
of Alameda
ALA CIV-100 [Rev. 07-01-2015]
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              Superior Court of California, County of Alameda




              Notice of Assignment of Judge for All Purposes

Case Number: RG21110598
Case Title:     Bratset VS OHL Supply Chain
Date of Filing: 08/24/2021


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Pursuant to Rule 3.734 of the California Rules of Court and Title 3 Chapter 2 of the
Local Rules of the Superior Court of California, County of Alameda, this action is
hereby assigned by the Presiding Judge for all purposes to:

       Judge:                 Julia Spain
       Department:            520
       Address:               Hayward Hall of Justice
                              24405 Amador Street--     - -- -
                              Hayward CA 94544
       Phone Number:          (510) 690-2729
       Fax Number:            (510) 267-1531
       Email Address:         Dept520@alameda.courts.ca.gov

Under direct calendaring, this case is assigned to a single judge for all purposes including
trial.

Please note: In this case, any challenge pursuant to Code of Civil Procedure section
170.6 must be exercised within the time period provided by law. (See Code Civ. Proc.
§§ 170.6, subd. (a)(2) and 1013.)

NOTICE OF NONAVAILABILITY OF COURT REPORTERS: Effective June 4, 2012, the
court will not provide a court reporter for civil law and motion hearings, any other hearing or
trial in civil departments, or any afternoon hearing in Department 201 (probate). Parties may
arrange and pay for the attendance of a certified shorthand reporter. In limited jurisdiction
cases, parties may request electronic recording.

Amended Local Rule 3.95 states: "Except as otherwise required by law, in general civil case
and probate departments, the services of an official court reporter are not normally
available. For civil trials, each party must serve and file a statement before the trial date
indicating whether the party requests the presence of an official court reporter."

Counsel(s) are expected to be familiar with the Statement of Professionalism and Civility,
Alameda County Bar Ass_ociation (www.acbanet.org).

IT IS THE DUTY OF EACH PLAINTIFF AND CROSS COMPLAINANT TO SERVE A COPY

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OF THIS NOTICE IN ACCORDANCE WITH LOCAL RULES.

General Procedures

Following assignment of a civil case to a specific department, all pleadings, pap-ers, forms,
documents and writings can be submitted for filing at either Civil Clerk's Office, located at
the Rene C. Davidson Courthouse, Room 109, 1225 Fallon Street, Oakland, California,
94612, and the Hayward Hall of Justice, 24405 Amador Street, Hayward, California, 94544.
All documents, with the exception of the original summons and the original civil complaint,
shall have clearly typed on the face page of each document, under the case number, the
following:
                           ASSIGNED FOR ALL PURPOSES TO
                                     JUDGE Julia Spain
                                     DEPARTMENT 520

All parties are expected to know and comply with the Local Rules of this Court, which are
available on the court's website at: http://www.alameda.courts.ca.gov/Pages.aspx/Local-
Rules( 1) and with the California Rules of Court, wh ich are available at
www.courtinfo.ca.gov.

Parties must meet and confer to discuss the effective use of mediation or other alternative
dispute processes (ADR) prior to the Initial Case Management Conference. The court
encourages parties to file a "Stipulation to Attend ADR and Delay Initial Case Management
Conference for 90 Days". Plaintiff received that form in the ADR information package at the
time the complaint was filed. The court's website also contains this form and other ADR
information. If the parties do not stipulate to attend ADR, the parties must be prep~red Jo
discuss referral to ADR at the Initial Case Management Conference.
Appearances by attorneys not counsel of record are not permitted except for good cause
shown. (Non-emergency scheduling conflicts are not good cause). Any appearing counsel
must have full authority to make decisions on a case.

All references to counsel apply equally to self-represented parties and all must comply with
all the rules cited in this Notice. Parties are reminded that the dept. clerk is prohibited from
giving legal advice. Self-represented parties are encouraged to use the Self-Help Center at
the Hayward Hall of Justice, 24405 Amador St., Dept. 501 , Hayward .

Email is the best method of communicating with court staff. Email address for counsel or
self-represented litigants must be listed in the caption of all filed papers, as required by CRC
2.111 ( 1). All email communications must be copied to all parties for whom an email address
is available. Pleadings/documents shall not be transmitted via email.

Schedule for Department 520
   The following scheduling information is subject to change at any time, without notice.
   Please contact the department at the phone number or email address noted above if
   you have questions.
   •    Trials generally are held: Mondays, Tuesdays, Thursdays and Fridays, beginning at
        9:30 a.m.

   •    Trial Readiness Conferences are held 2 weeks prior to trial date. Compliance with
        Local Rule 3.35 and personal appearance of trial counsel is required.

   •    Case Management Conferences are held: Wednesdays at 9:30 a.m. Timely filed
        and complete CMC Statements with courtesy copy to Dept. 520 are required. The

                                           Page 2 of 4
         Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 38 of 69



          court will usually publish a Tentative Case Management Order. Check DOMAIN to
          see if Order waives CMC appearance.
     •    Law and Motion matters are heard: Wednesdays and Thursdays at 2:00 p.m.;
          Li.tigants must contact the dept.. clerk to reserv!3 a date before filing any I.aw and
          motion matter. See further procedures below.
     •    Settlement Conferences are heard: Court resources are limited . Counsel are
          encouraged to consider alternative dispute resolution. Conferences will be specially
          set as appropriate.
     •    Ex Parte matters are heard: On written applications on ly on Mondays - Thursdays.
          Email Dept. 520 to request date. Moving party must give 48 hours prior notice to
          opponent advising written opposition must be filed and courtesy copy delivered to
          Dept. 520 within 24 hours.
     •    Check Domain, Dept. 520 webpage, click on "List of Documents" for other useful
          materials.
     •    DISCOVERY DISPUTES: Parties must exhaust Meet and Confer requirements
          before contacting the court for a hearing date. No Motion to Compel Discovery will
          be scheduled until after the parties complete an informal discovery resolution
          process thru the court. Email the dept. for a date and further details before
          preparing any Motion to Compel.

 Law and Motion Procedures
 To obtain a hearing date for a Law and Motion or ex parte matter, parties must contact the
_d.epartmenJ as_f_0liows_:___ _ _ _ __
 •   Motion Reservations
        Email:        dept520@alameda.courts.ca.gov

          Please provide: 1) Name of case; 2) Case number; 3) Title of motion; 4) Moving
          party; 5) Name of Responding Party's Counsel and email address.

•    Ex Parte Matters
        Email:        dept520@alameda.courts.ca.gov


Tentative Rulings

The court may issue tentative rulings in accordance with the Local Rules. Tentative rulings
will become the Court's order unless contested in accordance with the Local Rules.
Tentative rulings will be available at:


•    Website: www.alameda .courts.ca.gov/domainweb, Calendar Information for Dept. 520
•    Phone: 1-866-223-2244




                                              Page 3 of 4
    Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 39 of 69




       Dated: 08/26/2021
                                                      Facsimile

                                                  Presiding Judge,
                                   Superior Court of California, County of Alameda




                                  CLERK'S CERTIFICATE OF MAILING
I certify that the following is true and correct: I am the clerk of the above-named court and
not a party to this cause. I served this Notice by placing copies in envelopes addressed as
shown on the attached Notice of Initial Case Management Conference and then by sealing
and placing them for collection, stamping or metering with prepaid postage, and mailing on
the date stated below, in the United States mail at Alameda County, California, following
standard court practices.

              Executed on 08/27/2021

                                            By
                                                                  Deputy Clerk




                                        Page 4 of 4
Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 40 of 69




                    EXHIBIT 2
      Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 41 of 69




 I   Christopher J. Boman (SBN 198798)
     E-Mail: cbomanlkfishernhillins.corn
 2   Boris Sorsher (SBN 251718)
     E-Mail: bsorsher(Rfishernhillios.corn
 3   FISHER 86 PHILLIPS LLP
     2050 Main Street, Suite 1000
 4   Irvine, California 92614
     Telephone: (949) 851-2424
 5   Facsimile: (949) 851-0152

 6   Olatomiwa T. Aina (SBN 325566)
     E-Mail:taina fisherohillins.corn
 7   FISHER b'c PHILLIPS LLP
     One Embarcadero Center, Suite 2050
 8   San Francisco, California 94111
     Telephone: (415) 490-9000
 9   Facsimile: (415) 490-9001

10   Attorneys for Defendant
     Exel Inc. dba DHL SUPPLY CHAIN (erroneously sued
11   as "DHL SUPPLY CHAIN" )

12                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

13                               FOR THE COUNTY OF ALAMEDA

14
     STEPHEN BRATSET,                        CASE NO.: [RG21110598]
15                                           (Unlimited Jurisdictionj
                          Plaintiff
16                                           Assigned for all purposes to the Honorable Julia
             V.                              Spain, Dept. 520
17
     DHL SUPPLY CHAIN, a business entity     DEFENDANT EXEL INC. DBA DHL
18   from unknown and DOES 1-50,             SUPPLY CHAIN'S C.C.P. SECTION 170.6
                                             PEREMPTORY CHALLENGE;
19                                           DECLARATION OF CHRISTOPHER J.
                          Defendant.         BOMAN IN SUPPORT THEREOF
20
                                             Complaint Filed: 08/24/21
21                                           Trial Date:      None Set
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             TO THE COURT, AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
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        EXEL INC. DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
                 DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF
     FP 42358539 J
      Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 42 of 69



 I           Pursuant to California Code of Civil Procedure Section 170.6, Defendant EXEL INC.

 2   dba DHL SUPPLY CHAIN (erroneously nanted as "DHL") hereby moves to disqualify the

 3   Honorable Julia Spain from presiding over this action. This motion is support by the declaration

 4   of Christopher J. Boman.


 6   DATE: November 22, 2021




                                          By:
                                                 CHRISTOPHER J. BOMAN
                                                 BORIS SORSHER
10                                               OLATOMIWA T. AINA Attorneys for Defendant
                                                 EXEL INC. dba DHL SUPPLY CHAIN
                                                 (erroneously named as "DHL")
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        EXEL INC. DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
                 DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF
     FP 42358539J
      Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 43 of 69



 I                            DECLARATION OF CHRISTOPHER J. BOMAN
 2           I, CHRISTOPHER J. BOMAN, hereby declare and state as follows:

 3            1.        I am an   attorney at law duly licensed to practice before all courts in the State of

 4   California. I am a partner with Fisher & Phillips LLP, counsel of record for Defendant EXEL

 5   INC. dba DHL SUPPLY CHAIN (erroneously named as "DHL") (" Defendant" ). Based on my

 6   personal knowledge, I assert the facts set forth herein and, if called as a witness, I could and

 7   would competently testify thereto.

 8           2.         The Honorable Julia Spain, the judge to whom this action has been assigned for

 9   all purposes, including trial, is prejudiced against Defendant and/or its counsel, or the interests

10   of Defendant or its counsel, so that they cannot, or they believe that they cannot, have a fair and
11   impartial trial or hearing before such judge.

12           I     declare under penalty of perjury, under the laws of the State of California, that the

13   foregoing is true and correct.

14           Executed on November 22, 2021, at Irvine, C

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                                                                CHRISTOPHER J. BOMAN
18                                                              Declarant

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                                                           I
        EXEL INC. DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
                 DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF
     FP 42358539.1
      Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 44 of 69



 1                                         PROOF OF SERVICE
                                         (CCP JJJ]1013(a) and 2015.5)
 2
             I, the undersigned, am at least 18 years old and not a party to this action. I am employed
 3   in the County of San Francisco with the law offices of Fisher k Phillips LLP and its business
     address is One Embarcadero Center, Suite 2050, San Francisco, California 94111.
 4
            On November 22, 2021, I served the following document(s) DEFENDANT EXEL INC.
 5   DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
     DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF on the
 6   person(s) listed below by placing   the original H a true copy thereof enclosed in sealed
     envelope(s) addressed as follows:
 7
      Michael J. Reed                                       Attorney for Plaintiff
      Attorney at Law                                       STEPHEN BRATSET
 9    60 Creek Tree Lane
      Alamo, California 94507                               T: (925) 743-8353 F: (925) 743-8353
                                                                              I




10                                                          E:    mreed10202&aohcom

11
     E         [by ELECTRONIC SERVICEJ - Based on a court order or an agreement of the parties
12             to accept service by electronic transmission, I electronically served the document(s) to
               the person(s) at the electronic service address(es) listed above.
13
     px        [by MAIL] - I enclosed the document(s) in a sealed envelope or package addressed to
14             the person(s) whose address(es) are listed above and placed the envelope for collection
               and mailing, following our ordinary business practices. I am readily familiar with this
15             business's practice for collecting and processing correspondence for mailing. On the
               same day that correspondence is placed for collection and mailing, it is deposited in the
16             ordinary course of business with the United States Postal Service in San Francisco
               California, in a sealed envelope with postage fully prepaid.
17
               [by OVERNIGHT DELIVERYJ - I enclosed the document(s) in an envelope or package
18             provided by an overnight delivery carrier and addressed to the person(s) at the address(es)
               listed above. I placed the envelope or package for collection and overnight delivery at an
19             office or a regularly utilized drop box of the overnight carrier.
20   p         [by PERSONAL SERVICE] - I delivered the document(s) to the person(s) at the
               address(es) listed above by (1) (a) personal delivery, or (b) by leaving the documents in
21             an envelope/package with an individual in charge of the office, or (c) by leaving them in
               a conspicuous place in the office between the hours of 9:00 a.m. and 6:00 p.m., or (2) by
22             messenger — a copy of the Messenger Declaration is attached.
23          I declare under penalty of perjury, under the laws of the State of California, that the
     foregoing is true and correct. Executed November 22, 2021, at San Francisco, California.
24

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          Billie E. Patterson
                          Pnni Name
                                                      By:     ~~~ P               S|gnainrc

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          EXEL INC. DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
                   DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF
     FP 42368539J
Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 45 of 69




                    EXHIBIT 3
      Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 46 of 69
                                        GRANTED


 I   Christopher J. Boman (SBN 198798)
     E-Mail: cbomanlkfishernhillins.corn
 2   Boris Sorsher (SBN 251718)
     E-Mail: bsorsher(Rfishernhillios.corn
 3   FISHER 86 PHILLIPS LLP
     2050 Main Street, Suite 1000
 4   Irvine, California 92614
     Telephone: (949) 851-2424
 5   Facsimile: (949) 851-0152

 6   Olatomiwa T. Aina (SBN 325566)
     E-Mail:taina fisherohillins.corn
 7   FISHER b'c PHILLIPS LLP
     One Embarcadero Center, Suite 2050
 8   San Francisco, California 94111
     Telephone: (415) 490-9000
 9   Facsimile: (415) 490-9001

10   Attorneys for Defendant
     Exel Inc. dba DHL SUPPLY CHAIN (erroneously sued
11   as "DHL SUPPLY CHAIN" )

12                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

13                               FOR THE COUNTY OF ALAMEDA

14
     STEPHEN BRATSET,                             CASE NO.: [RG21110598]
15                                                (Unlimited Jurisdictionj
                          Plaintiff
16                                                Assigned for all purposes to the Honorable Julia
             V.                                   Spain, Dept. 520
17
     DHL SUPPLY CHAIN, a business entity          DEFENDANT EXEL INC. DBA DHL
18   from unknown and DOES 1-50,                  SUPPLY CHAIN'S C.C.P. SECTION 170.6
                                                  PEREMPTORY CHALLENGE;
19                                                DECLARATION OF CHRISTOPHER J.
                          Defendant.              BOMAN IN SUPPORT THEREOF
20
                                                  Complaint Filed: 08/24/21
21                                                Trial Date:      None Set
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             TO THE COURT, AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
28

        EXEL INC. DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
                 DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF
     FP 42358539 J
      Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 47 of 69



 I           Pursuant to California Code of Civil Procedure Section 170.6, Defendant EXEL INC.

 2   dba DHL SUPPLY CHAIN (erroneously nanted as "DHL") hereby moves to disqualify the

 3   Honorable Julia Spain from presiding over this action. This motion is support by the declaration

 4   of Christopher J. Boman.


 6   DATE: November 22, 2021




                                          By:
                                                 CHRISTOPHER J. BOMAN
                                                 BORIS SORSHER
10                                               OLATOMIWA T. AINA Attorneys for Defendant
                                                 EXEL INC. dba DHL SUPPLY CHAIN
                                                 (erroneously named as "DHL")
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        EXEL INC. DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
                 DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF
     FP 42358539J
      Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 48 of 69



 I                            DECLARATION OF CHRISTOPHER J. BOMAN
 2           I, CHRISTOPHER J. BOMAN, hereby declare and state as follows:

 3            1.        I am an   attorney at law duly licensed to practice before all courts in the State of

 4   California. I am a partner with Fisher & Phillips LLP, counsel of record for Defendant EXEL

 5   INC. dba DHL SUPPLY CHAIN (erroneously named as "DHL") (" Defendant" ). Based on my

 6   personal knowledge, I assert the facts set forth herein and, if called as a witness, I could and

 7   would competently testify thereto.

 8           2.         The Honorable Julia Spain, the judge to whom this action has been assigned for

 9   all purposes, including trial, is prejudiced against Defendant and/or its counsel, or the interests

10   of Defendant or its counsel, so that they cannot, or they believe that they cannot, have a fair and
11   impartial trial or hearing before such judge.

12           I     declare under penalty of perjury, under the laws of the State of California, that the

13   foregoing is true and correct.

14           Executed on November 22, 2021, at Irvine, C

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                                                                CHRISTOPHER J. BOMAN
18                                                              Declarant

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        EXEL INC. DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
                 DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF
     FP 42358539.1
      Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 49 of 69



 1                                         PROOF OF SERVICE
                                         (CCP JJJ]1013(a) and 2015.5)
 2
             I, the undersigned, am at least 18 years old and not a party to this action. I am employed
 3   in the County of San Francisco with the law offices of Fisher k Phillips LLP and its business
     address is One Embarcadero Center, Suite 2050, San Francisco, California 94111.
 4
            On November 22, 2021, I served the following document(s) DEFENDANT EXEL INC.
 5   DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
     DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF on the
 6   person(s) listed below by placing   the original H a true copy thereof enclosed in sealed
     envelope(s) addressed as follows:
 7
      Michael J. Reed                                       Attorney for Plaintiff
      Attorney at Law                                       STEPHEN BRATSET
 9    60 Creek Tree Lane
      Alamo, California 94507                               T: (925) 743-8353 F: (925) 743-8353
                                                                              I




10                                                          E:    mreed10202&aohcom

11
     E         [by ELECTRONIC SERVICEJ - Based on a court order or an agreement of the parties
12             to accept service by electronic transmission, I electronically served the document(s) to
               the person(s) at the electronic service address(es) listed above.
13
     px        [by MAIL] - I enclosed the document(s) in a sealed envelope or package addressed to
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               and mailing, following our ordinary business practices. I am readily familiar with this
15             business's practice for collecting and processing correspondence for mailing. On the
               same day that correspondence is placed for collection and mailing, it is deposited in the
16             ordinary course of business with the United States Postal Service in San Francisco
               California, in a sealed envelope with postage fully prepaid.
17
               [by OVERNIGHT DELIVERYJ - I enclosed the document(s) in an envelope or package
18             provided by an overnight delivery carrier and addressed to the person(s) at the address(es)
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19             office or a regularly utilized drop box of the overnight carrier.
20   p         [by PERSONAL SERVICE] - I delivered the document(s) to the person(s) at the
               address(es) listed above by (1) (a) personal delivery, or (b) by leaving the documents in
21             an envelope/package with an individual in charge of the office, or (c) by leaving them in
               a conspicuous place in the office between the hours of 9:00 a.m. and 6:00 p.m., or (2) by
22             messenger — a copy of the Messenger Declaration is attached.
23          I declare under penalty of perjury, under the laws of the State of California, that the
     foregoing is true and correct. Executed November 22, 2021, at San Francisco, California.
24

25
          Billie E. Patterson
                          Pnni Name
                                                      By:     ~~~ P               S|gnainrc

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     17165.1154
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          EXEL INC. DBA DHL SUPPLY CHAIN'S C.C.P. SECTION 170.6 PEREMPTORY CHALLENGE;
                   DECLARATION OF CHRISTOPHER J. BOMAN IN SUPPORT THEREOF
     FP 42368539J
                    Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 50 of 69
                                                                                             Reser v ed for Cl er k’ s F i l e Sta mp
          SUPERIOR COURT OF CALIFORNIA
              COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:

Hayward Hall of Justice
24405 Amador Street, Hayward, CA 94544
PLAINTIFF(S):

Stephen Bratset

DHL Supply Chain
                                                                                         CASE NUMBER:
                     NOTICE OF CASE REASSIGNMENT
                                                                                        RG21110598
                                     EFFECTIVE       11/30/2021
                      THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Pursuant to Rule 3.734 of the California Rules of Court and Title 3 Chapter 2 of the Local Rules of the Superior
Court of California, County of Alameda, this action is hereby assigned by the Presiding Judge for all purposes to:
        ASSIGNED JUDGE:       Dennis Hayashi
        DEPARTMENT:           518
        LOCATION:             Hayward Hall of Justice
                              24405 Amador Street, Hayward, CA 94544
        PHONE NUMBER:         (510) 690-2727
        FAX NUMBER:
        EMAIL ADDRESS:        Dept518@alameda.courts.ca.gov

Under direct calendaring, this case is assigned to a single judge for all purposes including trial.

Please note: In this case, any challenge pursuant to Code of Civil Procedures section 170.6 must be exercised
within the time period by law. (See Code of Civ. Proc. §§ 170.6, subd. (a.)(2) and 101.3)

NOTICE OF NONAVAILABILITY OF COURT REPORTERS: Effective June 4, 2012, the court will not provide a
court reporter for civil law and motion hearings, any other hearing or trial in civil departments, or any afternoon
hearing in Department 201 (probate). Parties may arrange and pay for the attendance of a certified shorthand
reporter. In limited jurisdiction cases, parties may request electronic recording. Amended Local Rule 3.95 states:
“Except as otherwise required by law, in general civil case and probate departments, the services of an official
court reporter are not normally available. For civil trials, each party must serve and file a statement before the trial
date indicating whether the party requests the presence of an official court reporter.”

GENERAL PROCEDURES

Following assignment of a civil case to a specific department, all pleadings, papers, forms, documents and writings
can be submitted for filing at either Civil Clerk’s Office, located at the Rene C. Davidson Courthouse, Room 109,
1225 Fallon Street, Oakland, California, 94612, and the Hayward Hall of Justice, 24405 Amador Street, Hayward,
California, 94544 and through Civil e-filing. Information regarding Civil e-filing can be found on the courts website.
All documents, with the exception of the original summons and the original civil complaint, shall have clearly typed
on the face page of each document, under the case number, the following:



                                          NOTICE OF CASE REASSIGNMENT
ACSC (Rev. 10/21)                                                                                                Page 1 of 2
               Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 51 of 69


                             ASSIGNED FOR ALL PURPOSES TO
                                   Dennis Hayashi
                             JUDGE ____________________________________
                                          518
                             DEPARTMENT ___________

All parties are expected to know and comply with the Local Rules of this Court, which are available on the court’s
website at http://www.alameda.courts.ca.gov/Pages.aspx/Local-Rules(1) and with the California Rules of Court, which
are available at www.courtinfo.ca.gov.

Parties must meet and confer to discuss the effective use of mediation or other alternative dispute processed (ADR)
prior to the Initial Case Management Conference. The court encourages parties to file a “Stipulation to Attend ADR and
Delay Initial Case Management Conference for 90 Days.” The court’s website contains this form and other ADR
information. If the parties do not stipulate to attend ADR, the parties must be prepared to discuss referral to ADR at the
Initial Case Management Conference.

COURT RESERVATIONS

The use of the Court Reservation System (CRS) is now mandated in many civil courtrooms within the Alameda County
Superior Court. Instead of calling or emailing the courtroom to make a reservation, parties with a case assigned to a
courtroom using CRS are directed to utilize CRS to make and manage their own reservations, within parameters set by
the courtrooms. CRS is available 24 hours a day, seven days a week and reservations can be made from a computer
or smart phone. Please note, you are prohibited from reserving more than one hearing date for the same motion.

Prior to scheduling any motion on CRS, including any Applications for Orders for Appearance and Examination, or
continuing any motion, please review the online information (if any) for the courtroom in which you are reserving. There
may be specific and important conditions associated with certain motions and proceedings. Information is available on
the court’s eCourt Public Portal at www.eportal.alameda.courts.ca.gov.




                                                      Chad Finke, Executive Officer / Clerk of the Court




                                                                  By




                                              NOTICE OF CASE REASSIGNMENT
    ACSC (Rev. 10/21)                                                                                          Page 2 of 2
              Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 52 of 69
                                                                               Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:
Hayward Hall of Justice
24405 Amador Street, Hayward, CA 94544
PLAINTIFF/PETITIONER:
Stephen Bratset
DEFENDANT/RESPONDENT:
DHL Supply Chain
                                                                         CASE NUMBER:
                        CERTIFICATE OF MAILING                           RG21110598

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Reassignment upon each party
or counsel named below by placing the document for collection and mailing so as to cause it to be
deposited in the United States mail at the courthouse in Oakland, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    Michael J. Reed
    Attorney at Law
    60 CreekTree Lane
    Alamo, CA 94507-




                                                   Chad Finke, Executive Officer / Clerk of the Court
Dated: 11/30/2021                                   By:




                                    CERTIFICATE OF MAILING
Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 53 of 69




                    EXHIBIT 4
     Case 4:22-cv-00263-JSW Document 6 Filed 01/13/22 Page 54 of 69




                                MICHAEL J. REED
                                      Attorney at Law
                                     60 CreekTree Lane
                                   Alamo, California 94507
                                       (925 743-8353


December 22, 2021

PERSONAL AND CONFIDENTIAL

Mr. Chris Boman, Esq.
Fisher & Phillips LLP
2050 Main Street | Suite 1000
Irvine, CA 92614

Re.: Stephen Bratset Employment Claim

Privileged and Confidential Pursuant to the California Evidence Code Sections 1152
and 1154.

Dear Mr. Boman:
This letter serves to present an initial settlement demand on behalf of my client, Stephen
Bratset. In furtherance of perhaps a common objective regarding exploring an early
informal resolution of my client’s claims before the prosecution of these claims, in what
will most likely prove to be a very costly and time-consuming litigation, I asked my
client to forward to me a brief narrative which chronicles his employment circumstances
while he was employed by your company. His legal claims are based upon the following
facts and circumstances, which are related here in his own words, and which he
previously brought to the attention of Mr. John Gilbert of DHL via a letter transmittal.
(Please note that this communication is for settlement purposes only and is protected
pursuant to the California Evidence Code Sections 1152 and 1154 as a privileged and
confidential settlement communication.)

“This letter is being written to you in hopes that you will do something about all of the
wrongs that occur on a daily basis at your facility On Marathon Drive in Livermore
California...including the ones that were perpetuated onto me

Hopefully...what you read here is NOT okay with you and is NOT the way you want your
facilities managed AND when you're done reading this...you'll realize not only how badly
I was wronged...but also that...at least as far as THIS facility goes...your company doesn't
live by its own policies, etc.

- during the recruitment and onboarding process...employees don't bother to ask anyone
what previous engagements and/or obligations they have...like vacation time to use up,
medical appointments, etc. - when new employees try to tell someone during

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orientation...they try to negotiate with you - I've never seen a hurry up and start working
for another employer process before - usually what transpires is you get the REAL green
light and you're clear to work THEN you discuss a start date and WHY

prior to applying for this position...I went thru a similar process with another nearby
company and at least they used a document that asked certain things and ONE of those
was "do you have any TIME OFF planned in the near future?" That's SMART

- during the onboarding process...in pertinence to START DATES...numerous
employees...including myself...TRIED emailing BRANDI JACKSON with a REPLY
message with NO response.... EVER. Other employees confirmed the same thing

- during orientation...it was made CLEAR by SHANNON that there was no HORSE
PLAY or FOUL / OFFENSIVE LANGUAGE permitted whatsoever - I learned...THAT
is BS (no pun intended) - it is RAMPANT at this facility every day on every shift - see
copies of the complaints I made the day I was suspended - numerous supervisors have
almost constant foul language coming out of their mouths and numerous "supervisors"
engage in horseplay with non-supervisory employees - this mostly occurs in PICKING

- I FINALLY got a badge...a DAY prior to being suspended - that's how long it took

- Getting different answers to the same question from different people is also RAMPANT
- I'll give you just ONE example of such for now:

I once found a Stainless ALLEN bolt - some employees including shift supervisors and
IC people will tell you that EVERY item you find and/or find "damaged" needs to go to
Inventory Control no matter what then THEY make the decision - you also have the same
kinds of employees that will grab it from you...and toss it either into a trash can or
cardboard hopper then they say "that's what we do with THOSE" because they're too lazy
to do what they're supposed to with it which is find its location and return it as it's LAM's
property

- the day I was suspended...it was ANOTHER day of showing up to work while
employees have their car stereos slammin'...either on the property or usually on the
property next door which employees use to park on a regular basis without any
permission, authorization, or just a basic OK

I was trying to make friendly with the cats that assemble between both properties when
the silver Chevrolet you see in the pictures pulled up and parked on the property next
door with his car stereo slammin' and he kept it slammin'...scaring the cats and offending
me with the noise level and the profanity coming from it - I pulled my phone out of my
pocket and started recording how loud it was and what both of us said to each other - one
of the things he said to me was "man get out of my face" and you'll see by the video that I
was nowhere NEAR his face and someone needed to tell him to knock it off, etc. - as it
got closer to start time him and another male actually got in my face with one of them
asking what I was driving - I asked him WHY he needed to know what I'm driving - his


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answer was "so I can know why you're recording me" - this is the mentality I and others
dealt with there every day...both inside and outside the building - I put on the complaint
that it's obvious he wanted to know what I drive so he could vandalize it later

BTW...not just on the day I was suspended...but facility management witnesses this car
stereo slammin' by numerous employees/vehicles on a daily basis and NEVER does
anything about it

Even though I had no idea about the clause in the handbook about recording...the bottom
line is...it didn't occur on that side of the property line and even if it had...the intention of
such a rule is for other reasons and not for recording wrong doing

- The day I was suspended I was told by JUAN CARLOS that DHL cares about its
employees, etc. - I told him that no matter how many times someone may SAY
that...there's a LONG history in this world of employers and their management retaliating
against whistleblowers of any kind - he said he's been with DHL 15 years and they're not
like that

you'll find...by the end of this letter...that at least at THIS facility...it very much IS that
way...and this is why most...if not all employees don't tell management there anything

- after showing the video I recorded to JUAN CARLOS and PRENTISS
JEFFERSON...and allowed to them to record it with JUAN’S personal phone (760) 284-
2701...I was then suspended and told that after a WEEK (not SEVENTEEN days) that I
would either be brought back and paid back pay or terminated

- I was suspended on 12/10 and contacted by voice mail from a "WALTER" from phone
number (209) 597-2194...which appears to be his personal cell phone...on 12/27 -
SEVENTEEN days later

I wasn't able to return his call for a few days - when I did, he told me “The investigation
has been completed and your position has been terminated" - I hung up on him

(PICKING)
waste massive amounts of time every shift
engage in horseplay
engage in regular use of foul and offensive language (see my complaint)
engage in violating policy, Livermore city ordinance and the Vehicle Code with their car
stereos
violate policy by hanging around on the property after they've clocked out in the smoking
area and other areas
violate policy by yelling/screaming in the break room
violate policy by using their cell phones in the warehouse including text messaging and
watching football




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PICKING is so disorganized and out of control...it takes anywhere from a half hour to an
hour just to get started picking

After listening to safety stuff that's been repeated so many times nobody listens
anymore...then looking around and around and around to find a cart...that's not broken or
FULL of garbage...fiddling with scanners that don't work properly...I could go on & on &
on...

BREAK TIME: SECOND and THIRD shifts - people regularly take break WAY over
their allotted 15 minutes

With all the screwing around that goes on every shift and with it taking an average of an
hour for people to actually start PICKING....NO WONDER they instigated
MANDATORY OVERTIME

PICKING on SUNDAYS - All of the problems in my documented complaints and in this
letter are worse than any other day of the week

"SUPERVISORS" RARELY get out on the floor and SUPERVISE - once in a while do
you actually see people NOT screwing around and actually appearing to be
MOTIVATED - I gotta tell ya...it's cool when it DOES happen

I'm not going to just give you the reasons and examples of WHY Picking at this facility is
so inefficient...except for what's already been stated - I don't think it's right or just to help
you and your company after your company singled me out and stabbed me in the
back...an employee that received a $25 gift card on his THIRD DAY WORKING

LOGISTICALLY speaking...the problems that are in PICKING and the PICKING part of
the warehouse have been there for years and DHL just picked up where RK Logistics had
left it and has continued the status quo and it doesn't work very well

BELIEVE me when I say I'm not the only one there that thinks any of this and is
frustrated & angry about all of this - not only newer hires...but employees that transferred
over from RK

NICK SMITH: I want to COMMEND him - When I came to him to talk about some of
the Logistical issues in Picking...he not only listened intently but he also put things in
motion - I WATCHED things start to change and be implemented and he also had
supervision come "pick my brain" - it's too bad I wasn't allowed to continue - I would've
increased efficiency in PICKING by a HUGE margin

When I said to NICK "I hope it's okay me stating some of this stuff with me being a
newer employee" and he said "No... No... It’s GREAT... I LOVE THIS KIND OF
STUFF...we need MORE of it"




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NONE of my ideas were rocket science - in fact...if one didn't see what I saw and apply
common sense...they could experience logistical warehouses in the area that are WAY
more efficient than this one and see WHY that is

I'm going to end this letter with comment about "SAFETY" at this facility

- The company's policies on safety a lot of times do not match their actions - I'll give you
TWO examples:

One day...a Korean woman...had a panic attack or something and was taken to the
hospital - the "medical professional" on site told a newer employee to go get the
Defibrillator and that person was not familiar with that term nor its location - according
to that employee...the "medical professional" told her that she should know WHAT and
WHERE it is because of Orientation

I KNOW from Orientation that Defibrillators are only MENTIONED and nowhere along
the time line of bringing people on board and training them are they ever walked around
the facility and familiarized with locations of Defibrillators, Fire Extinguishers, Fire
Exits, etc and with as much information as you're bombarded with in that one day...it's
not safe to ASSUME such a thing as the "medical professional" did

I later told this to the "SAFETY MANAGER" or whatever he's called - not only does he
spend loads of time every day chit chatting about football...but his reception to me bring
this to his attention was really cold and of course...it was never discussed in front of shifts
of employees nor has anything changed in the way of familiarizing shifts of employees
with what's been stated above

On another date...as it was time to end my shift...second shift...I was walking towards the
third shift coming into the warehouse walking down an aisle and I literally watched a
MAN walking at the front of the line TRIP on a chain hanging from pallet racking and
his feet came off the ground and into the air and landed on his side - he got up and
laughed it off and so did the employees behind him - I'm pretty sure that HE and nobody
else besides myself told management about this "near miss" if you can call it that...WHY
it occurred

The next day at the beginning of my shift...I brought it to the attention of Prentiss
Jefferson who came across to me like it wasn't that important and to figure out who that
was that tripped and fell like that - he told me it might be in an email that he hasn't seen
yet - REALLY???

If that had been me...I would have told everyone else in his office to come back in 15
minutes then I would have shown me everyone's badge picture on the third shift and had
me point him out so he could be communicated with about reporting such things and so
he could be checked out medically




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That's how people end up with work related INJURIES and go out on Worker's Comp,
etc.

STEPHEN BRATSET
Former Employee – Livermore California…”

In candor, based upon the above described facts, I believe that my client has tenable legal
claims against his employer including but not limited to: 1. Employment Discrimination
on The Basis of Age, Violation of Fair Employment and Housing Act; 2. Age
Harassment, Violation of Fair Employment and Housing Act; 3. Employment
Discrimination on The Basis of Race and National Origin, Violation of Fair Employment
and Housing Act; 4. Wrongful Discharge in Violation of Public Policy; 5. Retaliation,
Violation of Fair Employment and Housing Act; 6. Constructive Discharge in Violation
of Public Policy – Plaintiff Required to Violate Public Policy; 7. Constructive Discharge
in Violation of Public Policy – Plaintiff Required to Endure Intolerable Conditions for
Improper Purpose That Violate Public Policy; 8. Wrongful Termination in Violation of
Labor Code, Cal. Labor Code § 6311; 9. Wrongful Termination in Violation of Labor
Code, Cal. Labor Code § 6310; 10. Breach of Implied in Fact Contract; 11. Breach of
Employment Contract; 12. ; Unlawful Retaliation, Violation of Cal. Labor Code §
1102.5; 13. Breach of the Implied Covenant of Good Faith and Fair Dealing; and 14.
Violation of California Government Code Section 12940(k). (Please see attached
Complaint attached herewith as Document D575.009 ND)

I am prepared to further discuss my client’s liability theories with either you, if you think
that would facilitate our settlement objectives.

At the present time, my client is seeking compensation for his economic and non-
economic damages.

After being terminated, my client continues to suffer constant severe emotional distress
including but not limited to physical pain, fright, shock, nervousness, anxiety, worry,
grief, stress, indignity, apprehension, and fear.

Attorney’s Fees:

The Fair Employment and Housing Act (FEHA) (Govt. Code §§12900-12996) provides
in Govt. Code §12965(b) for fee awards to the prevailing party. In Flannery v. Prentice
(2001) 26 Cal.4th 572 the California Supreme Court affirmed this. The court has
discretion to award reasonable attorney’s fees and costs to the prevailing party. See
Weeks v. Baker & McKenzie (1998) 63 Cal.App4th 1128, 1171. Relief obtained through
settlement also qualifies a plaintiff as the prevailing party. Santisas v.Goodin (1998) 17
Cal.4th 599, 621. Attorney’s fees if awarded would be calculated based upon an hourly
rate of $750.00 per hour.
In light of all the considerations addressed herein, my client has authorized me to demand
the sum of $175,000.00 in full settlement of his claims. (For purposes of this demand
letter only)

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I look forward to your prompt response after you have had the opportunity to discuss this
demand with your client.

Sincerely,
/s/
Michael J. Reed
Attorney at Law

(D575.007 ND)




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                    EXHIBIT 5
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                                                                                                                                                      CM-110
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and address):                                               FOR COURT USE ONLY


 Michael J. Reed SBN: 122324
 Attorney at Law
 60 CreekTree Lane; Alamo, Ca . 94507
                              (925) 743-8353
               TE LEPHON E NO ..                  FAX NO. (Optional) (734) 468-6168

                              mreed 10202@aol.com
      E-MAIL AODRESS (Optional)

          ATTORNEY FOR (Name) Plaintiff STEPHEN BRATSET

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF Alameda
        STREET ADDREss 24405 Amado r Street

       MAILING ADDREss 24405 Amado r Street

      c ITY AND z IPcoDE: Hayward, CA 94544

           BRANCH NAME Haywa rd Hall of Justice

         PLAINTIFF/PETITIONER: STEPHEN BRATSET

  DEFENDANT/RESPONDENT: OHL SUPPL y CHAIN, a business entity fo rm unk.

                                   CASE MANAGEMENT STATEMENT                                                 CASE NUMBER:

 (Check one):             [ZJ      UNLIMITED CASE               c::::::J    LIMITED CASE                       RG21110598
                                   (Amount demanded                         (Amount demanded is $25,000
                                   exceeds $25 ,000)                        or less)

  A CASE MANAGEMENT CONFERENCE is scheduled as follows
 Date: 01/24/2022                                  Time 02:30 PM                   Dept: 518               Div.:                     Room:
 Address of court (if different from the address above):
 Hayward Hall of Justice, 24405 Amador Street; Hayward, CA 94544
     [Z]     Notice of Intent to Appear by Telephone, by (name): Michael J. Reed

                  INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
 1.     Party or parties (answer one):
        a.   [ZJ This statement is submitted by party       (name). STEPHEN BRATSET
        b.   D         This statement is submitted jointly by parties (names):



2.      Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
        a. The complaint was filed on (date). August 24, 2021
        b.   D         The cross-complaint, if any , was filed on (date):

3.      Service (to be answered by plaintiffs and cross-complainants only)
        a.   W         All parties named in the complaint and cross-complaint have been served , have appeared , or have been dismissed.
        b.   D         The following parties named in the complaint or cross-complaint
                       (1)     D      have not been served (specify names and explain why not):

                       (2)    CD      have been served but have not appeared and have not been dismissed (specify names):
                                      OHL SUPPLY CHAIN
                       (3)    D       have had a default entered aga inst them (specify names).

        c.   D         The following additional parties may be added (specify names, nature of involvement in case, and date by which
                       they may be served):



4.     Description of case
       a. Type of case in           [ZJ complaint            D             cross-complaint     (Describe, including causes of action) ·
               COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT (VIOLATION OF
               FAIR EMPLOYMENT AND HOU SING ACT); AND REQUEST FOR JURY TRIAL
                                                                                                                                                       Pa e 1 of 5
Form Adopted for Mandatory Use
  Judicial Council of California                        CASE MANAGEMENT STATEMENT                                                            Cal. Rules of Court,
                                                                                                                                              rules 3.72G-3. 730
   CM-110 [R ev. July 1, 2011]
                                                                                                                                                 www.courts.ca.gov
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                                                                                                                                                    CM-110
                                                                                                                  CASE NUMBER:
             PLAINTIFF/PETITIONER: STEPHEN BRATSET
                                                                                                                   RG21110598
     DEFENDANT/RESPONDENT: OHL SUPPLY CHAIN, a business entity form unk.

  4.    b.         Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
                   damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
                   earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief)
                   Plaintiff alleges that throughout his employment, he was discriminated against and harassed on account of his
                   race and age, retaliated against and wrongfully terminated in violation of the provisions of the California Fair
                   Employment and Housing Act (FEHA) (Govt. C . §§12900- 12996). Plaintiff is seeking econ/nonecon. damages .


        D              (If more space is needed, check this box and attach a page designated as Attachment 4b.)
  5.    Jury or nonjury trial
        The party or parties request            [ZJ    a jury trial     D       a nonjury trial.   (If more than one party, provide the name of each party
        requesting a jury trial):


  6.    Trial date
        a.         D
                   The trial has been set for (date):
        b.         W     No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                         not, explain) :

        c.         Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):


  7.   Estimated length of trial
       The party or parties estimate that the trial will take (check one):
        a.         [ZJ   days (specify number): 4-6 Days
        b.         D     hours (short causes) (specify) .


 8. Trial representation (to be answered for each party)
       The party or parties will be represented at trial [ZJ by the attorney or party listed in the caption                      D   by the following:
       a. Attorney:
       b. Firm:
       c. Address:
       d. Telephone number:                                                     f. Fax number:
       e. E-mail address:
                                                                                g. Party represented:
       D     Additional representation is described in Attachment 8.
9.     Preference
       D      Th is case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)

       a.      ADR information package. Please note that different ADR processes are available in different courts and communities; read
               the ADR information package provided by the court under rule 3.221 for information about the processes available through the
               court and community programs in this case.
             (1) For parties represented by counsel: Counsel             hasW             CJ
                                                                                        has not           provided the ADR information package identified
                    in rule 3.221 to the client and reviewed ADR options with the client.

             (2) For self-represented parties: Party        D         has   D       has not reviewed the ADR information package identified in rule 3.221.
       b. Referral to judicial arbitration or civil action mediation (if available).
             (1)    D        Th is matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                             mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                             statutory limit.

             (2)    D        Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                             Civil Procedure section 1141.11.

             (3)    CJ       This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                             mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):


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                                                        CASE MANAGEMENT STATEMENT                                                                   Page 2 of 5
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                                                                                                                                   CM-110
                                                                                                  CASE NUMBER:
      PLAINTIFF/PETITIONER: STEPHEN BRATSET
                                                                                                   RG2 1110598
b EFENDANT/RESPONDENT: OHL SUPPLY CHAIN, a business entity form unk.

10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified information) :


                                The party or parties completing   If the party or parties completing this form in the case have agreed to
                                this form are willing to          participate in or have already completed an ADR process or processes ,
                                participate in the following ADR indicate the status of the processes (attach a copy of the parties' ADR
                                processes (check all that apply): stipulation):


                                                                   [ZJ    Mediation session not yet scheduled

                                            [ZJ                    D      Mediation session scheduled for (date):
    (1) Mediation
                                                                   D      Agreed to complete mediation by (date):

                                                                   D      Mediation completed on (date) :


                                                                   [2J    Settlement conference not yet scheduled

  (2) Settlement                            [Z]                    D      Settlement conference scheduled for (date):
      conference
                                                                   D      Agreed to complete settlement conference by (date) :

                                                                   D      Settlement conference completed on (date):


                                                                   D      Neutral evaluation not yet scheduled

                                            D                      D      Neutral evaluation scheduled for (date):
   (3) Neutral evaluation
                                                                   D      Agreed to complete neutral evaluation by (date):

                                                                   D      Neutral evaluation completed on (date):


                                                                   D      Judicial arbitration not yet scheduled

  (4) Nonbinding judicial                   D                      D      Judicial arbitration scheduled for (date):
         arbitration
                                                                   D      Agreed to complete judicial arbitration by (date) :

                                                                   D      Judicial arbitration completed on (date) :


                                                                   D      Private arbitration not yet scheduled

  (5) Binding private                       D                      D      Private arbitration scheduled for (date) :
      arbitration
                                                                   D      Agreed to complete private arbitration by (date).·

                                                                   D      Private arbitration completed on (date):


                                                                   D      ADR session not yet scheduled


                                            D                      D      ADR session scheduled for (date) .
   (6) Other (specify)
                                                                   D      Agreed to complete AD R session by (date):

                                                                   CJ     ADR completed on (date):


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                                                CASE MANAGEMENT STATEMENT
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                                                                                                         CASE NUMBER :
            PLAINTIFF/PETITIONER:            STEPHEN BRATSET
 ,-
                                                                                                         RG21110598
    DEFENDANT/RESPONDENT                     OHL SUPPL y CHAIN, a business entity form unk.

  11. Insurance
      a.      DInsurance carrier, if any, for party filing this statement (name):
      b.  Reservation of rights: D         Yes D          No
       c.     D      Coverage issues will significantly affect resolution of this case (explain):




  12. Jurisdiction
      Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
        D Bankruptcy D Other (specify).
      Status:

 13. Related cases, consolidation, and coordination
     a.      DThere are companion, underlying, or related cases.
                     (1)    Name of case:
                     (2)    Name of court:
                     (3)    Case number:
                     (4)    Status
             D      Additional cases are described in Attachment 13a.
      b.     D      A motion to        D        consolidate   D      coordinate      will be filed by (name party).·

 14. Bifurcation
      D        The party or parties intend to file a motion for an order bifurcating , severing , or coordinating the following issues or causes of
               action (specify moving party, type of motion, and reasons):



 15. Other motions
      D       The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):



  16. Discovery
        a.   D      The party or parties have completed all discovery.
        b.   W      The following discovery will be completed by the date specified (describe all anticipated discovery):
                    Party                                    Description                                                  Date
        Plaintiff                                                 Written Discovery                                         May 2022
        Plaintiff                                                 PMK and percipient witnesses depositions                  June 2022
        Plaintiff                                                 Expert Discovery                                          per code



       c.    D     The following discovery issues, including issues regarding the discovery of electronically stored information, are
                   anticipated (specify).




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                                                                                                                                                     CM-110
                                                                                                           CASE NUMBER:
        PLAINTIFF/PETITIONER:          STEPHEN BRATSET
                                                                                                           RG21110598
  DEFENDANT/RESPONDENT                 OHL SUPPL y CHAIN, a business entity form unk.


 17. Economic litigation
     a.      D
           Th is is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
           of Civil Procedure sections 90-98 will apply to th is case.
        b.   D      This is a limited civi l case and a motion to w ithdraw the case from the economic litigation procedures or for additional
                    discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                    should not apply to this case).




 18. Other issues
       ITJ The party or parties request that the following additional matters be considered or determined at the case management
               conference (specify):
                 Plaintiff requests that a further CMC be scheduled in 120 days to afford the parties the opportunity to explore
                 early resolution through settlement discussions and perhaps an early mediation.



 19. Meet and confer
     a. IT] The party or parties have met and conferred with all parties on all subjects requ ired by rule 3. 724 of the California Rules
            of Court (if not, explain):
                    Plaintiffs counsel and Defense counsel are engaging in communications regarding the posture of the case
                    and possible settlement and ADR.

       b.    After meeting and conferring as required by rule 3. 724 of the Ca lifornia Ru les of Court, the parties agree on the following
             (specify).




 20. Total number of pages attached (if any):            0

 I am completely familiar with this case and will be fu lly prepared to discuss the status of discovery and alternative dispute resolution,
 as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
 the case management conference , including the written authority of the party where required.

 Date 12/23/2 022                                                                                                             ,//,         1/
                                                                                                                          /           //
                                                                                                /                     V          1/
  Michael J. Reed
                              (TYPE OR PRINT NAME)                                 ►        /;,.,,.-
                                                                                                                                                .......,


                              (TYPE OR PRINT NAME)                                 ►                   (S IGNATURE OF PARTY OR ATTORNEY)

                                                                                   D     Additional signatures are attached.




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                                                     CASE MANAGEMENT STATEMENT
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     are                                                                                                                                                            POS-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                           FOR COURT USE ONLY
   Michael J. Reed (CSB # 122324)
'— Attorney At Law
   60 CreekTree Ln.
       Alamo, Ca 94507                                                                                                                                    D
              TELEPHONE NO.:            (925) 743-8353              FAX NO. (Optional):                                                                        TY
     E-MAIL ADDRESS (Optional):                                                                                           ALAMEDA                COUN
                        ame):
        ATTORNEY FOR (Name).            Plaintiff:
                                           alntl   Stephen
                                                      epnen Bratset
                                                              bratse                                                               DEC       —   l   2021

     SUPERIOR COURT OF EALIFORHA. GRONTY oF                              ALAMEDA
              STREET ADDRESS:                   allon      Street                                                                                                   OURT
          maiincAppress:                1225   Fallon Street                                                       CLER                 THE SUPERIOR <
         cityannzipcove:                Oakland, Ca 94612                                                          By               :                               Deputy
                BRANCH NAME:


         PLAINTIFF/PETITIONER:                 Stephen Bratset                                                      CASE wate
                                                                                                                                        Lcottysoe
 DEFENDANT/RESPONDENT:                         DHL Supply Chain
                                                                                                                   Ref. No. or File No.:
                                         PROOF OF SERVICE OF SUMMONS

                                                        (Separate proof of service is required for each party served.)
1.      At the time of service | was at least 18 years of age and not a party to this action.
2.       | served copies of:
         a.               summons
         b.               complaint
         C.      [|       Alternative Dispute Resolution (ADR) package

         d.      [|       Civil Case Cover Sheet (served in complex cases only)
         e.      [|       cross-complaint
         f.               other (specify documents):            Notice of all Assignment of Judge for all Purposes
3.      a.     Party served (specify name of party as shown on documents served):
               DHL Supply Chain

         b.            Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                       under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):

                       Aaron Musgrove-General Manager accepted service on behalf of DHL Supply Chain
4.       Address where the party was served:
         7364 Marathon Dr. Livermore, CA 94550
5.       | served the party (check proper box)
         a.              by personal service.            | personally delivered the documents listed in item 2 to the party or person authorized to
                         receive service of process for the party (1) on (date): 11/11/2021                        (2) at (time):          12:31 p.m.
         b.      L]       by substituted service. On (date):                     at (time):            | left the documents listed in item 2 with or
                          in the presence of (name and title or relationship to person indicated in item 3):


                         (1)    [__]       (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                           of the person to be served. | informed him or her of the general nature of the papers.

                         (2)    [|         (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                            place of abode of the party. | informed him or her of the general nature of the papers.

                         (3)    [|          (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                            address of the person to be served, other than a United States Postal Service post office box. | informed
                                            him or her of the general nature of the papers.
                         (4)    [           | thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                            at the place where the copies were left (Code Civ. Proc., § 415.20). | mailed the documents on
                                            (date):              from (city):                           or       a declaration of mailing is attached.
                         (5)    L_]         | attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                                       Page   1 of 2

     Form Adopted for Mandatory Use                                 PROOF        OF       SERVICE   OF   SUMMONS                                 Code of Civil Procedure, § 417.10
       Judicial Council of California
                                                                                                                                                       American LegalNet, Inc.
     POS-010 [Rev. January 1, 2007]
                                                                                                                                                       www.FormsWorkflow.com
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            PLAINTIFF/PETITIONER:                             Stephen Bratset                                                         CASE NUMBER:
                                                                                                                                                     RG21110598
     DEFENDANT/RESPONDENT:                                   DHL       Supply Chain


5c.               fon             by mail and acknowledgment of receipt of service. | mailed the documents listed in item 2 to the party, to the
                                  address shown in item 4, by first-class mail, postage prepaid,

                                      (1)   on (date):                                                         (2) from (city):

                                      (3) [|          with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                                      to me.     (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                                      (4)   [J            to an address outside California with return receipt requested.         (Code Civ. Proc., § 415.40.)

         d. [__]_                     by other means (specify means of service and authorizing code section):



                  Ls]            Additional page describing service is attached.

6.      The "Notice to the Person Served" (on the summons) was completed as follows:
           a. [__]                    asan individual defendant.
          b.       L_ |               as the person sued under the fictitious name of (specify):
          e        [_]                as occupant.
           d.                     On behalf of (specify):                 DHL Supply Chain
                                      under the following Code of Civil Procedure section:
                                                    L_]     416.10 (corporation)                                    415.95 (business organization, form unknown)
                                                    [_]     416.20 (defunct corporation)                      L_]   416.60 (minor)
                                                    L_]     416.30 (joint stock company/association)          [_] 416.70 (ward or conservatee)
                                                    L_]     416.40 (association or partnership)               L_]   416.90 (authorized person)
                                                    [1 416.50 (public entity)                                 L_] 415.46 (occupant)
                                                                                                              L_]   other:
7.       Person who served papers
         a.       Name: Paul Norman
                  Address: 156 Crest Ave. Alamo, CA 94507
      qo ao fF




                 Telephone number:                          (925)     216-6095
                 The fee for service was:                        $     {OD a
                  lam:

                   (1) [_]                  nota registered California process server.
                   (2)        [|            exempt from registration under Business and Professions Code section 22350(b).
                   (3)         |¥_|         a registered California process server:
                                            (i)               owner      [|    employee         [|   independent contractor.
                                            (ii)     Registration No.:        1135
                                            (iii)    County:         Santa Clara Ca

8.                       | declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

                         or
9.      |                | am a California sheriff or marshal and | certify that the foregoing is true and correct.

Date:            11/11/2021

Paul Norman                                                                                                                             KWAN
                 (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR                        MARSHAL)                                              (SIGNATURE )




POS-010          [Rev. January 1, 2007]                                                                                                                            Page 2 of 2
                                                                                 PROOF OF SERVICE OF SUMMONS
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 1                                  PROOF OF SERVICE
                                  (CCP §§1013(a) and 2015.5)
 2
            I, the undersigned, am at least 18 years old and not a party to this action. I
 3   am employed in the County of San Francisco with the law offices of Fisher &
     Phillips LLP and its business address is One Embarcadero Center, Suite 2050, San
 4   Francisco, California 94111.
 5         On January 13, 2022, I served the following document(s) DECLARATION
     OF CHRISTOPHER J. BOMAN IN SUPPORT OF NOTICE OF REMOVAL on
 6   the person(s) listed below by placing       the original   a true copy thereof
     enclosed in sealed envelope(s) addressed as follows:
 7

 8    Michael J. Reed                            Attorney for Plaintiff
      Attorney at Law                            STEPHEN BRATSET
 9    60 Creek Tree Lane
      Alamo, California 94507                    T: (925) 743-8353 | F: (925) 743-8353
10                                               E: mreed10202@aol.com

11
            [by ELECTRONIC SERVICE] - Based on a court order or an agreement
12           of the parties to accept service by electronic transmission, I electronically
             served the document(s) to the person(s) at the electronic service address(es)
13           listed above.
14          [by MAIL] - I enclosed the document(s) in a sealed envelope or package
             addressed to the person(s) whose address(es) are listed above and placed the
15           envelope for collection and mailing, following our ordinary business
             practices. I am readily familiar with this business’s practice for collecting
16           and processing correspondence for mailing. On the same day that
             correspondence is placed for collection and mailing, it is deposited in the
17           ordinary course of business with the United States Postal Service in San
             Francisco California, in a sealed envelope with postage fully prepaid.
18
            [by FAX] - Based on an agreement of the parties to accept service by fax
19           transmission, I faxed the document(s) to the person(s) at fax number(s) listed
             above from fax number (415) 490-9001. The fax reported no errors. A copy
20           of the transmission report is attached.
21          [by OVERNIGHT DELIVERY] - I enclosed the document(s) in an
             envelope or package provided by an overnight delivery carrier and addressed
22           to the person(s) at the address(es) listed above. I placed the envelope or
             package for collection and overnight delivery at an office or a regularly
23           utilized drop box of the overnight carrier.
24          I declare under penalty of perjury, under the laws of the State of California,
     that the foregoing is true and correct. Executed January 13, 2022, at San Francisco,
25   California.
26
            DOROTHY MJ. WANG                 By:        /S/ DOROTHY MJ. WANG
27                   Print Name                                      Signature

28


                                     CERTIFICATE OF SERVICE
     FP 42711069.1
